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10    Perfect 10, Inc.
11                            UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
14    PERFECT 10, INC., a California                  Case No.: 11 CV 7098-AB (SHx)
      corporation,                                    Before Honorable André Birotte, Jr.
15                 Plaintiff,
             v.                                       DECLARATION OF JOHN D.
16
      GIGANEWS, INC., a Texas corporation;            O’CONNOR IN OPPOSITION TO
17    LIVEWIRE SERVICES, INC., a Nevada               DEFENDANTS’ MOTION FOR
      corporation; and DOES 1 through 100,            AWARD OF ATTORNEY’S FEES
18
      inclusive,                                      AND EXPENSES
19                 Defendants.
                                           Date: February 2, 2015
20    GIGANEWS, INC., a Texas corporation; Time: 10:00 a.m.
      LIVEWIRE SERVICES, INC., a Nevada Ctrm: 790 (Roybal)
21    corporation; and DOES 1 through 100,
22    inclusive,
                   Counter-claimants,
23            v.
24    PERFECT 10, INC., a California
      corporation,
25
                   Counter-defendant.
26
27
28
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   1   I.       QUALIFICATIONS AND BACKGROUND
   2            I, John D. O’Connor hereby declare and state as follows:
   3            1.     I am an attorney and licensed to practice law in all courts in the State
   4   of California, and have been so licensed since December 1972. I am currently the
   5   principal of O’Connor and Associates, a law firm consisting of myself and several
   6   associates that specializes in commercial litigation. I have forty-two years of
   7   significant trial experience, including current jury trial experience. In addition to
   8   my litigation practice, I have been retained as an attorneys’ fee expert on
   9   approximately fifty occasions, and served as a consulting expert on many more
  10   occasions.
  11            2.     I was retained by Perfect 10, Inc. on December 31, 2014 to provide
  12   expert opinions regarding the reasonableness of the fees and costs sought by
  13   Defendants in the above-captioned matter. My associate and I have spent
  14   approximately 40 hours reviewing and analyzing Defendants’ motion (and all
  15   supporting documents) and drafting this declaration.
  16            3.     The following is a brief summary of my background and
  17   qualifications.
  18            4.     I attended The University of Notre Dame in South Bend, Indiana,
  19   where I graduated magna cum laude in 1968. In 1972, I graduated cum laude from
  20   the University of Michigan Law School, where I was a member of the Order of
  21   the Coif and Associate Editor of the Michigan Law Review. I was admitted to the
  22   California bar in 1972.
  23            5.     After being admitted to the California bar, I held numerous positions
  24   at private law firms where my practice focused on trial litigation. In 1972 and
  25   1973 I was an associate with the trial firm of Belli, Ashe and Choulos, where I
  26   assisted Mr. Melvin Belli in the trial of several large cases, and tried three cases
  27   on my own. From January 1974 through December 1979, I was an Assistant
  28   United States Attorney for the Northern District of California in San Francisco. In
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   1   that capacity, I tried white-collar criminal cases as well as a variety of civil
   2   matters. In 1980 and 1981 I was a senior associate at the prominent San Francisco
   3   firm of Brobeck, Phleger and Harrison.
   4         6.     From 1982 through 2001, I was a principal and managing partner of
   5   the law firm of Tarkington, O’Connor & O’Neill, where our clients were mainly
   6   insurance companies, corporate risk management departments, and governmental
   7   entities, such as the FDIC, FSLIC, RTC, NCUA, and the United States
   8   government. From late 2001 through July 2006, I was employed with the San
   9   Francisco firm of Howard Rice as a Special Counsel and Director, practicing
  10   within the litigation department. At Howard Rice, litigation work consisted of
  11   business litigation, tobacco defense litigation on behalf of R.J. Reynolds Tobacco
  12   Company, intellectual property litigation, and a variety of commercial cases.
  13         7.     Since July 2006, I have practiced on my own with several associates
  14   under the name of O’Connor and Associates. My practice continues to focus on
  15   complex business litigation, including an active trial practice. In my career I have
  16   tried over seventy civil and criminal cases in state and federal jurisdictions
  17   throughout the country.
  18         8.     In 1982 I began managing the Tarkington office and as our firm
  19   quickly grew to over eighty lawyers, I regularly kept abreast of billing standards
  20   in the community, and regularly subscribed to specialized publications geared to
  21   law firm management, such as the Altman and Weil annual reports and the
  22   monthly published Partners’ Report. I as well regularly reviewed more widely
  23   published legal periodicals.
  24         9.     As written billing guidelines became in vogue for institutional clients
  25   in the mid-eighties, I participated heavily in working with our institutional clients
  26   in government, insurance and other large businesses to establish and implement
  27   practical billing standards. I regularly consulted with these clients about their
  28
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   1   perception of the positive and negative in our billings, and where appropriate,
   2   remedied the same.
   3         10.    I have kept abreast of the billing rates in Northern and Southern
   4   California, and generally throughout the country since 1982. Because we
   5   represented clientele in different business and governmental sectors, it was
   6   important to me to be conversant about rates throughout the litigation field
   7   ranging from premium to lower, more commoditized rates.
   8         11.    Because our practice at the Tarkington firm often involved coverage,
   9   legal malpractice, and reinsurance and excess monitoring work, we reviewed the
  10   billings of a wide variety of firms in our regular practice, including premium-rate
  11   billings, lower, highly negotiated insurance defense charges, and standard
  12   business litigation charges with rates falling between these two groups.
  13         12.    At Howard Rice, we kept informed about both premium rates in the
  14   area and rates charged by the wider sector of, more market-driven business firms,
  15   so that we could in turn appropriately set ours on an annual basis. Because we did
  16   work throughout California, our surveys involved both Northern California and
  17   Southern California, as well as national firm rates. It has been my experience that
  18   the rate structure of the San Francisco Bay Area is virtually identical to that in the
  19   greater Los Angeles area.
  20         13.    In 2005-2006, I served as a JAMS arbitrator on an asbestos fee
  21   dispute involving over $2 million in billings.
  22         14.    I have been retained on over 50 occasions to provide written and/or
  23   oral opinions. For example, in 2010, I was an attorneys’ fees expert retained by
  24   class counsel in Duran v. U.S. Bank, an employment class action case tried before
  25   Honorable Robert J. Freedman, Alameda County Superior Court, in which class
  26   counsel was awarded $18.8 million dollars. Judge Freedman based certain
  27   findings favorable to class counsel on “persuasive expert testimony expressed by
  28   John D. O’Connor.”
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   1         15.    I recently testified in a trial in San Francisco Superior Court, J.R.
   2   Marketing, L.L.C. v. Hartford Casualty Ins. Co., Case No.: CGC-06-449220, and
   3   was accepted as a qualified expert by Judge Lynn O’Malley Taylor. In that case I
   4   testified regarding $12,000,000 in legal fee billings allegedly payable by an
   5   insurer for defense work by a national law firm. I also recently testified by
   6   Declaration in U.S. District Court for the Northern District of California in Moore
   7   v. Verizon, Case No.: 09-1823 SBA (JSC), a nationwide class action, in which I
   8   was retained by the Munger Tolles firm on behalf of Defendant Verizon; and U.S.
   9   v. Nosal, Case No.: 3:08-CR-00237-EMC, in a criminal restitution matter in
  10   which the victim Korn Ferry sought recovery of legal fees of O’Melveny and
  11   Myers expended to remedy stolen trade secrets.
  12         16.    I have experience in the field of intellectual property litigation,
  13   involving issues of copyright and patent infringement, as well as trade secret and
  14   unfair competition litigation.
  15         17.    At the Brobeck firm, I was the lawyer assigned as lead counsel
  16   defending a patent infringement action and defended several trade secret and
  17   unfair competition claims.
  18         18.    At the Tarkington firm I defended several copyright cases, and served
  19   as local co-counsel on several patent cases.
  20         19.    At Howard Rice, I worked extensively with my partner highly-
  21   reputed intellectual property litigator Annette Hurst on several high exposure
  22   intellectual property cases.
  23         20.    At O’Connor and Associates, I served as co-counsel defending a
  24   patent infringement action through to jury verdict in District Court in Seattle. I
  25   have also served as local co-counsel on several District Court patent and copyright
  26   cases and have pursued trade secret actions in state court.
  27         21.    I have also represented and advised intellectual property lawyers
  28   regarding law firm partnership/employment issues and intellectual property client
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   1   in its disputes with a law firm, and a national law firm in a fee dispute over
   2   intellectual property litigation fees.
   3          22.    I have previously performed legal fee analysis in several intellectual
   4   property matters.
   5          23.    I believe I have sufficient familiarity with intellectual property
   6   litigation such that I understand both the markets for services therein and the
   7   nature of litigation in the field.
   8   II.    INTRODUCTION
   9          24.    I understand that this case involved copyright infringement claims
  10   brought by Perfect 10 against Defendants, who operate websites that offer Usenet
  11   content. One of the issues litigated was whether Perfect 10’s notices of copyright
  12   infringement provided to Defendants were sufficient to provide Defendants with
  13   knowledge of infringing activity on the Usenet servers that they operate. I have
  14   carefully reviewed the time records attached to Andrew Bridges’ declaration.
  15   Based on that review, I have an understanding of the scope of the litigation and
  16   the type of activities each side undertook.
  17          25.    Defendants seek fees of approximately $6.1 million and costs of
  18   $436,000. The undersigned assumes for purposes of providing the opinions set
  19   forth herein only that Defendants are entitled to reasonable fees and costs for the
  20   work that its attorneys performed in defending this litigation. I understand from
  21   Plaintiff’s counsel that Plaintiff is vigorously opposing this claim, which is
  22   beyond the scope of my assignment.
  23   III.   SUMMARY OF OPINIONS
  24          26.    This litigation cannot be classified as either extremely simple or of
  25   great complexity. The claims presented in this litigation by Plaintiff could have
  26   been well and successfully defended by any of those reputable firms who have
  27   lawyers experienced in intellectual property litigation, with competence
  28   recognized as such by the legal community.
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   1         27.    The rates sought by Defendants reflect the very highest of premium
   2   rates, or “super premium” rates, charged in any legal community. While these
   3   rates may be appropriately charged in certain “niche” areas of legal practice,
   4   including certain types of “bet the company” intellectual property (“IP”), these
   5   rates are not reasonable in any sector of the legal market that can provide these
   6   same services at far more reasonable rates. The services required to defend this
   7   case, in my opinion, could have been provided by a very large number of firms at
   8   far more reasonable rates. Indeed, Defendant could have easily found highly
   9   competent defense counsel who would have charged approximately fifty percent
  10   of the rates charged in this case.
  11         28.    As discussed in more detail below, the “lodestar” before deductions
  12   for inefficiencies is approximately $4.0 million, as based upon the 2014-2015
  13   Laffey matrix maintained by the Department of Justice of the United States. I
  14   opine that the lodestar should be reduced significantly for excessive hours
  15   charged. In my opinion, at least fifty percent of the hours charged here are
  16   unreasonable and excessive, as supported both by hours billed by Plaintiff’s
  17   counsel, my review of the number of hours associated with specific activities, and
  18   by surveys presented by Defendants.
  19         29.    If all hours billed are accepted as being reasonably charged, then a
  20   reasonable billing rate, using that of established firms in metropolitan areas,
  21   multiplied by all the hours claimed would total $3,739,748.35. However, because
  22   of excessive hours charged, this lodestar should be reduced by fifty percent, such
  23   that the net reasonable fees are approximately $1,850,000.00.
  24         30.    Further, Defendants seek an award of costs totaling $436,634.97.
  25   Most of these claimed costs are charges for “in house” services, including data
  26   extractions, computerized research, “share room” and data hosting services. All
  27   of these charges involve a high portion of “soft” costs intended to recoup not only
  28   “out of pocket” costs incurred by the law firm, but also recoupment of its internal
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   1   personnel costs and overhead expense. In my view, these costs, whether or not
   2   the client here has knowingly agreed to pay them, are not costs reasonably
   3   transferred to opposing party in a fee-shifting case. Although, per Exhibit A, only
   4   about $125,000 are clearly “hard” out of pocket costs, we have approximately and
   5   roughly allowed $250,000 of these costs as appropriately charged costs. See also
   6   Poblete Decl. Exh. 6.
   7   IV.   DISCUSSION
   8         31.    When I first read the total fees requested for this case, I was taken
   9   aback by the amount of fees requested in view of the nature of the litigation. In
  10   my experience, a rough rule of thumb in the intellectual property legal community
  11   is that a patent or copyright infringement case litigated with some seriousness will
  12   cost $2 million to $3 million to take same through trial, whether as a plaintiff or a
  13   defendant. Obviously, this range will be lower for more straightforward and
  14   simple cases and will be exceeded in cases involving unusually complex and
  15   contentious legal and factual issues.
  16         32.    The statistics offered by Defendant bear out this observation. In the
  17   Bay Area (there was insufficient data for Los Angeles) the total median fees for a
  18   case with an exposure of $1 million to $25 million is approximately $1.25 million
  19   in fees and $2 million in total fees and costs. The average (mean) fees and total
  20   fees and costs were $1,967,000 and $2,842,000 respectively. However, average
  21   fees can be skewed by a single large case like the Mattel case cited by Defendants.
  22   Accordingly, the rule of thumb which I state here is borne out by the statistics
  23   offered by Defendant in this case.
  24         33.    Another check on the total fees and costs that would be reasonable to
  25   be charged in this case is the total hours billed by the opposing counsel. There is
  26   usually not an exactitude to be expected in this comparison. Often one party has
  27   different burdens from those of the other. But generally, in most cases, there is
  28   some approximate correlation and parity, within a ten to twenty percent range,
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   1   regarding hours charged as between a single plaintiff and single defendant. Here,
   2   however, the total hours charged by each side is starkly different. For attorney
   3   hours only, Defendants seek recovery for 9,389 hours, while Plaintiff’s attorneys
   4   spent 3,912 hours. In spite of these disparate totals of hours, the burden upon each
   5   party was not starkly disparate, and cannot justify the extreme difference in hours
   6   charged.
   7            34.    Both parties seemed to have had similar discovery burdens, even
   8   though Perfect 10 produced many more documents (1.462 gigabytes of documents
   9   as opposed to 47 gigabytes produced by Defendants). Zada Decl. ¶¶13-14. To be
  10   sure, it may well be that because Defendant was the moving party on various
  11   motions to compel more frequently than was the Plaintiff, there may be some
  12   increased burden upon Defendant in this regard. But, each discovery issue
  13   requires a full opposition by the responding party and thus the difference in
  14   burden should not exceed the normal ten to twenty percent difference between a
  15   plaintiff and defendant actively litigating a case.
  16            35.    Otherwise, the burdens were quite similar on each side. Both sides
  17   briefed summary judgment papers, as both moving and responding parties, and
  18   both briefed the same legal issues, presenting factual declarations on, again, the
  19   same issues. Yet, even after the deductions made, Defendants are still claiming
  20   2.4 times more attorneys hours than Plaintiff’s counsel. Poblete Decl. ¶¶3-4, Exh.
  21   1.
  22            36.    We understand that the scope of recoverable damages was unclear.
  23   While Perfect 10’s president issued an expert report suggesting that an appropriate
  24   award if Plaintiff prevailed through trial would be $15 million (which was stricken
  25   by the Court), Defendants contended that all of the copyrighted images at issue
  26   constituted a single work, and thus, the maximum exposure was only $150,000.
  27   We also understand from our interview of Plaintiff’s counsel, Eric Benink, that
  28   Plaintiff would have been satisfied with a settlement of $2-3 million. It would
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   1   appear that a “cost of defense” settlement midway through this litigation would
   2   have been in the $1-2 million range. Accordingly, we would value the realistic
   3   exposure in this case as being in the low seven figures, and for statistical purposes
   4   would assess this case as having a potential value of between $1 million and $25
   5   million. In short, this is not a large, complex or seminal copyright case, nor was
   6   there realistic “bet the company” exposure.
   7         37.    The issues here were not of unusual complexity, the factual issues
   8   were not overly complicated and/or complex, and the number of witnesses to be
   9   examined was not unusually large. Furthermore, in my view, with the vast
  10   amount of experience Mr. Bridges has in the field and with his long experience
  11   with Perfect 10 in other litigation, he would certainly have known these
  12   expectations, as he has been involved in several settlements with Perfect 10,
  13   including in the cases against Microsoft and iWeb, both of who were represented
  14   by Mr. Bridges.
  15         38.    Accordingly, the amount of time here billed by defense counsel is
  16   clearly unreasonable. A sophisticated Defendant would reasonably budget for
  17   defense of this case somewhere between $1 million and $2 million through the
  18   close of discovery. A total overall budget, inclusive of all costs, through trial, one
  19   would expect to be somewhere between $2 million and $3 million.
  20         39.    Consistent with this reasonable budget, the amount of litigation
  21   activity undertaken in this case was typical. There was a Motion to Transfer
  22   Venue; two Rule 12(b)(6) Motions to Dismiss; defense of a Motion for
  23   Preliminary Injunction; cross-motions for Partial Summary Judgment; three
  24   Daubert motions, and various discovery motions, including a number of motions
  25   to compel. There were around 20 or so days of depositions. The approximately
  26   3,912 attorney hours spent by Plaintiff is an amount that would be reasonably
  27   budgeted and expected by both a reasonably sophisticated Plaintiff and a
  28   reasonably sophisticated Defendant in a case of this nature.
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   1          40.    As to each of the activities in this case, the Defense simply spent far
   2   more time than was reasonably needed for the task, indeed more than twice the
   3   time reasonably necessary.
   4          41.    For example, in a series of motions to compel, the amount of time
   5   billed by Mr. Gregorian at $670 an hour as an associate, over a four and a half
   6   month period, from January 14 through June 2, 2014, constituted 191.7 hours, just
   7   for the activity of drafting several “Joint Stipulations” regarding discovery. One
   8   Joint Stipulation took 75.5 hours of Mr. Gregorian’s time. Attached hereto as
   9   Exhibit B is a true and correct copy of some of Mr. Gregorian’s billing entries
  10   relating to the drafting of joint stipulations.
  11          42.    In addition, I have reviewed examples of hours the Defense expended
  12   on tasks that I understand were calculated by Melanie Poblete, a paralegal. These
  13   amounts are incredibly high. See Poblete Decl. Exh. 2.
  14          43.    One example of the excessiveness of the hours charged by defense
  15   counsel in this case can be seen in the activities of the Winston and Strawn firm
  16   under the guidance of Mr. Bridges prior to the Court approval of the
  17   commencement of discovery. In the Winston and Strawn phase of this litigation,
  18   the Plaintiff made a Motion to Transfer Venue and a Motion to Dismiss.
  19   Incredibly, in this period of defined and limited activity, Defendant spent 578
  20   hours for a total of $285,445 in charges. See Poblete Decl. Exh. 2. My
  21   independent calculation led to a similarly shocking estimate of 580 hours. See
  22   Exhibit C, attached hereto.
  23          44.    Another example in the Winston and Strawn phase of litigation were
  24   the hours dedicated to the preparation of a Motion for Preliminary Injunction. The
  25   defense attorneys working on this portion of the litigation billed 577.5 hours, an
  26   amount well over what would be customary, for a total cost of $282,522.50. See
  27   Poblete Decl. Exh. 2. My independent calculation led to a similarly shocking
  28   estimate of 570 hours. See Exhibit C, attached hereto.
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   1         45.    Similarly, the billing of discrete issues at Fenwick & West appears to
   2   be just as egregious and excessive as that of Winston and Strawn. For example,
   3   the Fenwick attorneys dedicated 371.7 hours on objections concerning the partial
   4   motions for summary judgment, amounting to $219,304.50 in charges. Likewise,
   5   Defendants spent no less than 650 hours on expert issues, for a total of
   6   $399,671.50 in charges. See Poblete Decl. Exh. 2.
   7         46.    In short, this case was litigated as if it were “bet the company”
   8   litigation. In fact, defense counsel knew, or certainly should have known, as Mr.
   9   Bridges so vehemently expresses in his Declaration, that this was merely an
  10   attempt by a copyright holder to protect, either appropriately or excessively,
  11   rightly or wrongly, its copyrights. There appears to have been no budgetary
  12   constraints placed upon defense counsel, and certainly no budgetary discipline
  13   exercised by defense counsel.
  14         47.    Plaintiff’s counsel logged 3,912 attorneys hours as compared with
  15   9,389 hours logged by defense attorneys, in addition to paralegals and support
  16   staff, who logged an additional 1,742.7 hours. Poblete Decl. Exh. 1; see also
  17   Exhibit H, attached hereto. In other words, the defense counsel here spent 240%
  18   more hours than did Plaintiff’s counsel pursuing essentially the same issues.
  19   There is no way that this extreme and gross disparity can be reasonably justified,
  20   especially in view of the experience of Mr. Bridges in litigating with Plaintiff. If
  21   anything, Mr. Bridges’ experience should have been an asset, which allowed an
  22   unusually efficient defense. In any case, I would cut as unreasonable hours billed
  23   by defense counsel by fifty percent across the board, and as well fifty percent of
  24   the paralegal and support staff hours. This would still compensate the defense for
  25   4,694 attorney hours, in comparison to the 3,912 hours of Plaintiff’s counsel, or
  26   the 120% more hours than logged by Plaintiff’s counsel.
  27         48.    Similarly, the hourly rates here charged are far above reasonable. I
  28   do not doubt the qualifications of Mr. Bridges or the reputations of Winston and
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   1   Strawn and Fenwick and West. But the fact that a firm is deemed pre-eminent in
   2   a particular field does not mean that its rates in a particular case are reasonable, if
   3   the market rates for the particular type of case and particular services required
   4   therein are far lower.
   5         49.    At the very top of the legal market are firms like Winston and
   6   Strawn, which are nationally known, and charge what I would term not only
   7   “premium” rates, but “super premium” rates, that is, rates at the high end of the
   8   premium portion of the market. Fenwick and West is not as well known
   9   nationally as Winston and Strawn, nor has it been established as long, but
  10   Fenwick and West is well known in the California legal market, more so in the
  11   Bay Area, particularly in Silicon Valley, than it is known in Southern California.
  12         50.    As competent as these firms generally are in this premium sector,
  13   their rates are reasonable only in cases in which there is a discernable need for the
  14   particular enhanced perceived value that the firms bring to the client. Trial skills,
  15   for example, of attorneys at the firms of Keker and Van Nest and Bois Schiller can
  16   reasonably justify such fees in a case of sufficient exposure; hedge fund expertise
  17   of certain lawyers at Arnold and Porter; bond expertise of certain lawyers at
  18   Orrick; and other similar niche skills all can reasonably justify premium fees.
  19   Certain claims of patent infringement in particular specialized areas may be aided
  20   by the expertise of lawyers with knowledge in the particular field in a particular
  21   firm can also justify premium rates, especially truly high exposure cases. Also,
  22   there are some litigation matters so complex, large and burdensome in scope that
  23   they need large numbers of qualified lawyers, perhaps nationwide or worldwide in
  24   scope, that can only provided by a firm with a minimum of 500 to 1,000 lawyers.
  25   And there may be a firm or individual lawyer so experienced in a niche field that
  26   high rates are justified by the efficiency that the lawyer brings to bear on the
  27   particular case.
  28
                                               12                         11 CV 07098 AB (SHx)
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   1         51.    Because this case, as I understand it, was largely a relatively standard
   2   DMCA case dealing with whether certain DMCA notices substantially satisfied
   3   the DMCA notification requirements, premium rates are not justified in this case
   4   and certainly not reasonably passed on, in a “fee-shifting” case, to an opposing
   5   party who had no choice of counsel. There appear to have been otherwise no
   6   factors here present which would justify these premium rates charged by Mr.
   7   Bridges, his partners, his associates, and support staff and Defendants have not set
   8   forth any reasons for the need in this case to pay these “super” premium rates.
   9         52.    There are a large number of firms throughout the country who litigate
  10   copyright and other intellectual property cases with top partner rates between
  11   $400 and $600 per hour, with the vast majority in California presently charging
  12   top partner rates from $450 an hour to $600 an hour, in what I would call the
  13   standard metropolitan intellectual property litigation sector in California. A junior
  14   partner would charge lower rates.
  15         53.    It is as well clear that there are a number of firms, especially smaller
  16   firms and spin-offs from larger firms, which are happy to charge partner rates of
  17   between $300 and $395 per hour. I recently was co-counsel in a patent case with
  18   an excellent and experienced partner in a Washington, D.C. intellectual property
  19   firm, Jeffrey Weiss who charges in this range.
  20         54.    An example of an excellent nationwide firm charging the more
  21   standard metropolitan rates, that is a rate of between $475 per hour to $600 per
  22   hour for senior partners, is the Novak Druce firm, highly regarded and featuring
  23   offices throughout the country.
  24         55.    Perfect 10 cited in its opposition brief a number of intellectual
  25   property cases in which rates in the $250-$400 range have been awarded by the
  26   Central District. In my opinion, Defendants clearly could have hired competent
  27   counsel at these rates, that is, with senior partner rates between $300 to $395 per
  28   hour. In determining which of the above three rate sectors is appropriate in this
                                               13                         11 CV 07098 AB (SHx)
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   1   case, I have used the middle section, that is, rates of non-premium firms that
   2   charge standard rates in metropolitan areas, and have done so without applying
   3   discounts, which these firms would often accept. However, I hasten to add that
   4   the lower range of reasonable partner rates, that is, between $300 to $395 per hour
   5   for a senior lawyer, is also a reasonable range of rates.
   6         56.    In determining the rates should be charged here, rather than set a rate
   7   for each year of the litigation, I will use, for sake of simplicity, the 2014-2015
   8   standard rates for metropolitan intellectual property firms, applying standard rates
   9   approved by various federal courts under established case law. Specifically, I will
  10   use the Laffey matrix as maintained by the United States Department of Justice.
  11   This index uses the rates approved by the Court in Laffey v. Northwest Airlines,
  12   Inc., 572 F. Supp. 354, 371 (D.D.C. 1983) as adjusted for inflation of the
  13   economy, roughly equivalent to the Consumer Price Index. From 2011 through
  14   2014-2015, for instance, the top rates applicable to Mr. Bridges would range from
  15   approximately $510 in 2011 to $532 in 2014-15. The 2014-2015 fee schedule is
  16   that which I use here, which would yield higher rates than would a set of rates
  17   using Laffey indexes for 2011 through 2014. I do so, because Courts applying the
  18   Laffey matrix usually apply the Laffey rate for the particular year of award.
  19   Attached hereto as Exhibit D is a copy of the 2014-2015 Laffey matrix.
  20         57.    It is customary in California to adjust the Laffey rates to reflect the
  21   cost of living. In In re HPL Technologies, Inc. 366 F. Supp. 2d 912, 921-22 and
  22   fn. 1 (N.D. Cal. 2005), the United States District Court for the Northern District of
  23   California applied the Laffey Matrix, increasing the lodestar rate to adjust for the
  24   higher cost of living in the area where the services were rendered. Attached hereto
  25   is a true and correct copy of the In re HPL Technologies decision as Exhibit E.
  26         58.    According to In re HPL, the Laffey matrix, which is an official source
  27   of attorney rates based in the Washington, D.C. area, can be adjusted to the Los
  28   Angeles Area by using the Locality Pay Tables prepared by the U.S. Office of
                                               14                         11 CV 07098 AB (SHx)
         Declaration of John D. O’Connor in Opposition to Defendants’ Motion for Attorneys’ Fees
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   1   Personnel Management. Attached hereto as Exhibit F are true and correct copies
   2   of the Locality Pay Tables for the District of Columbia and Los Angeles areas,
   3   respectively.
   4         59.       The District of Columbia area has a +24.22 percent locality pay
   5   differential, and the Los Angeles Area has a +27.16 percent locality pay
   6   differential over the General Schedule Base rate for the year of 2014. Applying
   7   the In Re HPL formula provides for a 2.4% upward rate over the Washington,
   8   D.C. area. Attached hereto as Exhibit G is a copy of the Locality Pay Adjustment
   9   to the 2014-2015 Laffey matrix, according to the In re HPL formula.
  10         60.       Adjusting the attorney rates in the Laffey Matrix for the Los Angeles
  11   Area by the +2.4 percent increase over the Locality Pay for the District of
  12   Columbia results in 2014-2015 hourly rates of $532.48 (for attorneys with 20+
  13   years experience), $471.04 (11-19 years experience), $378.88 (8-10 years
  14   experience), $307.20 (4-7 years experience), $261.12 (1-3 years experience), and
  15   $153.60 (as applied to paralegals and law clerks).
  16         61.       Thus, after applying the formula derived from In re HPL to the 2014-
  17   2015 Laffey matrix, the total fees, including all hours charged by defense counsel
  18   (as calculated by Melanie Poblete in Exhibit 1 of her declaration) would amount
  19   to approximately $3,739,748 per Exhibit H which provides the Laffey rates for
  20   11,032 hours charged by attorneys, paralegals, and support staff at the Winston
  21   and Strawn and Fenwick and West firms.
  22         62.       As a check on the use of the Laffey matrix, I have compared these
  23   rates to the amounts actually reported as having been billed in the surveys to
  24   which defense counsel makes reference in its moving papers. In the AIPLA
  25   Report of the Economic Capitalist survey of 2013 attached as Exhibit 7 to the
  26   Declaration of Melanie Poblete for the year 2012, the average partner hourly rate
  27   in Los Angeles was $557 and the average associate hourly rate in Los Angeles
  28   was $389. These rates are quite consistent with the Laffey matrix.
                                               15                         11 CV 07098 AB (SHx)
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   1            63.   These annual billing amounts also reflect the great availability of
   2   competent intellectual property counsel throughout the country, capable of
   3   litigating such matters in California and Los Angeles in particular.
   4            64.   I believe that the requested costs of $436,000 should be reduced
   5   approximately to $250,000. Much of the billed costs constitute recoupment of
   6   “soft” costs of the law firm, which often comprise half or more of the costs billed
   7   to clients.
   8            65.   Oftentimes, a law firm’s accounting attempts to recoup more than the
   9   true out of pocket costs, and seeks to cover certain firm personnel and overhead.
  10   For instance, a law firm will usually pay a certain amount for annual computerized
  11   research services from a research provider like Westlaw and Lexis, but in
  12   assessing charges to clients will usually recapture not just the charges to the
  13   research firm, but will also recoup overall costs significantly more than that
  14   charged to the research provider, including costs for, say, IT personnel, library
  15   personnel, and general overhead expenses. Similar methodologies are often
  16   applied in premium firms to copying and other charges. Usually these larger firm
  17   charges are considerably more costly than the charges levied by smaller firms or
  18   more market-driven metropolitan firms. In other words, in effect, cost
  19   recoupment also may involve “premium” charges that are in excess of that
  20   normally charged in the market. I have accordingly estimated that a more market-
  21   sensitive cost total would approximate about $250,000, as opposed to the
  22   approximate $436,000 charged by defense counsel here. This amount is
  23   necessarily rough and approximate, but is nonetheless a closer approximation of
  24   actual costs than those levied and sought here by defense counsel.
  25            66.   In sum, my opinion is that a reasonable fee and reasonable cost total
  26   approximately $2.1 million, including $1,850,000 in fees and $250,000.00 in
  27   costs.
  28
                                               16                         11 CV 07098 AB (SHx)
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   1         I declare under penalty of perjury that the foregoing is true and correct.
   2   Executed this 12th day of January 2015 in San Francisco, California.
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                                               17                         11 CV 07098 AB (SHx)
         Declaration of John D. O’Connor in Opposition to Defendants’ Motion for Attorneys’ Fees
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                   Exhibit
                     A
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                           Fenwick - Expenses Analysis


     Total Requested Expenses:                           $436,634.97
Ambiguous or Non-Out of Pocket Costs:                    $312,817.35

                  Cost                           Date                Amount
                                               Jan-2014             $46,925.55
                                               Feb-2014             $9,355.65
                                               Mar-2014             $11,664.15
"Litigation Support - Data Extraction and
                                               May-2014             $37,896.45
               Processing"
                                               Jun-2014             $10,289.85
                                               Jul-2014             $28,755.15
                                                                   $144,886.80

                                               Jan-2014             $3,128.37
                                               Feb-2014             $3,752.08
                                               Mar-2014             $4,529.69
                                               Apr-2014             $4,529.69
                                               May-2014             $7,056.12
   "Litigation Support - Monthly Data          Jun-2014             $7,742.11
                Hosting"                       Jul-2014             $9,659.12
                                               Aug-2014             $9,659.12
                                               Sep-2014             $9,659.12
                                               Oct-2014             $9,659.12
                                               Oct-2014             $9,659.12
                                                                   $79,033.66

                                               May-2013                 $500.00
                                               Jun-2013                 $500.00
                                               Jul-2013                 $500.00
                                               Aug-2013                 $500.00
                                               Sep-2013                 $500.00
                                               Oct-2013                 $600.00
                                               Nov-2013                 $600.00
                                               Dec-2013                 $700.00
                                               Jan-2014                 $700.00
                                               Feb-2014                 $700.00
                                               Mar-2014                 $700.00
                                               Apr-2014                 $800.00
             "ShareRoom"
                                               May-2014                 $800.00
                                               Jun-2014                 $900.00
                                               Jul-2014                 $500.00
                                               Jul-2014                 $900.00
                                               Aug-2014                 $500.00
                                               Aug-2014                $1,000.00
                                               Sep-2014                 $500.00
                                               Sep-2014                $1,000.00
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                                             Oct-2014                 $500.00
                                             Oct-2014                $1,100.00
                                             Nov-2014                 $500.00
                                                                    $15,500.00

                                             May-2012                 $932
                                             Mar-2013                $673.50
                                             May-2013               $2,211.50
                                             Aug-2013                $1,421
                                             Oct-2013                $1,184
                                             Nov-2013                $1,999
                                             Dec-2013                 $495
                                             Jan-2014                 $198
                                             Jan-2014                $2,082
                                             Feb-2014                 $972
                                             Mar-2014                $2,398
                                             Mar-2014                $3,163
                                             Apr-2014               $1,073.20
                                             Apr-2014                $3,340
   Westlaw / Lexis Legal Research            May-2014                 $523
                                             May-2014                $1,022
                                             Jun-2014                 $800
                                             Jun-2014                 $396
                                             Jul-2014                 $246
                                             Jul-2014                $1,563
                                             Aug-2014                $2,639
                                             Aug-2014                 $932
                                             Sep-2014                $2,286
                                             Sep-2014                $6,226
                                             Oct-2014                $6,951
                                             Oct-2014                $3,486
                                             Nov-2014                $3,910
                                             Nov-2014                $1,840
                                                                    $54,962

                                             Feb-2014                 $11.04
                                             Mar-2014               $14,595.30
   "Litigation Support - Production
                                             Apr-2014                $299.58
              Deliveries"
                                             Jun-2014               $1,033.77
                                                                   $15,939.69

       Lexis Legal Svs Printing         Mar 2012 - Nov 2014          $2,495

                                                        Total:      $312,817
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                   Exhibit
                     B
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      Drafting / Revising Joint Stipulations - Examples of Time Spent by Todd Gregorian (Fenwick)




                                                                                      Hours       Amount
Examples of Time Dedicated to Drafting Joint Stipulations:                            126.5      $86,546.00



    Date                                    Entry                                     Hours       Amount
                                            Joint Stipulation #1
             Draft joint stipulation regarding motion to compel production of
   1/14/14   documents.                                                                4.1        $2,829.00

             Draft and revise joint stipulation regarding motion to compel
             production of documents, and supporting papers.
   1/15/14                                                                             5.7        $3,933.00
             Revise joint stipulation regarding motion to compel production
   1/16/14   of documents.                                                             2.1        $1,449.00

             Revise joint stipulation re motion to compel and supporting
             documents; prepare and serve on opposing counsel.
   1/23/14                                                                             4.1        $2,829.00

             Prepare and exchange joint stipulation on motion to compel
             and supporting documents; attention to filing same.
   1/31/04                                                                             3.2        $2,208.00

             Review Perfect 10 portion of joint stipulation; draft and revise
             supplemental memorandum; phone call to A. Bridges re same.
   2/3/14                                                                              2.6        $1,742.00


   2/6/14    Draft and revise supplement to joint stipulation on motion to compel.     2.2        $1,474.00
             Revise reply in support of joint stipulation on motion to compel;
   2/10/14   prepare to file and file same.                                            3.1        $2,077.00
             Draft and revise supplemental joint stipulation regarding Request for
   3/6/14    Production Nos. 1 and 2.                                                  5          $3,350.00
                                                                                      32.1        $21,891.00


                                     Joint Stipulation #2 - Second MTC
   3/10/14   Draft joint stipulation on second motion to compel.                        5         $3,350.00
   3/12/14   Draft and revise joint stipulation on motion to compel.                   2.1        $1,407.00
             Draft and revise joint stipulation on second motion to compel; confer
   3/13/14   with junior associate re same.                                            6.3        $4,221.00
   3/14/13   Draft and revise joint stipulation on second motion to compel.            2.1        $1,407.00
   3/15/14   Draft and revise joint stipulation on second motion to compel.            6.2        $4,154.00
             Review and revise motion for reconsideration and supporting
   3/16/14   documents; draft and revise joint stipulation.                            1.5        $2,412.00
             Review magistrate's discovery order; email with K. Lu re review;
   3/17/14   draft and revise joint stipulation on second motion to compel.            2.9        $1,943.00
   3/18/14   Draft and revise joint stipulation on second motion to compel.            6.1        $4,087.00
             Draft and revise joint stipulation on second motion to compel and
             supporting documents; confer with team re same. Confer with K. Lu
   3/19/14   regarding upcoming depositions.                                           9.1        $6,097.00
             Draft and revise joint stipulation on second motion to compel and
             supporting documents; confer with team re same. Confer with K. Lu
   3/20/14   regarding.                                                                8.2        $5,494.00
             Revise joint stipulation re second motion to compel and supporting
             documents; attention to filing motion for reconsideration; draft
   3/21/14   proposed order re same.                                                   2.6        $1,742.00
             Draft and revise declaration in support of second joint stipulation on
   3/23/14   motion to compel.                                                         4.6        $3,082.00
   3/26/14   Draft and revise joint stipulation on motion to compel.                   8.8        $5,896.00
             Revise and finalize joint stipulation on motion to compel; serve
             same. Draft and revise meet and confer correspondence regarding
   3/28/14   second set of interrogatories.                                            5.5        $3,685.00
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             Draft correspondence to opposing counsel regarding recent written
             discovery responses; attention to finalizing joint stipulation on
   4/4/14    second motion to compel.                                            3.2     $2,144.00
   4/5/14    Review and revise documents for joint stipulation filing.           1.3      $871.00
                                                                                 75.5    $51,992.00

               Joint Stipulation re Motion to Compel Further Responses to Interrogatories
             Draft and revise joint stipulation on motion to compel fulrther
   5/24/14   interrogatory responses.                                                2     $1,340.00
             Draft and revise joint stipulation re motion to compel further
             interrogatory responses; draft emails to opposing counsel re
   5/27/14   document inspection.                                                    9     $6,030.00
             Draft and revise joint stipulation re motion to compel further
   5/28/14   responses to interrogatories.                                          1.9    $1,273.00
             Revise joint stipulation on motion to compel responses to
   5/30/14   interrogatories and supporting documents; prepare same for service.    3.4    $2,278.00
   6/9/14    Revise and prepare joint stipulation for filing.                       2.6    $1,742.00
                                                                                    18.9  $12,663.00
                                                                      Grand Totals 126.5  $86,546.00
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                   Exhibit
                     C
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                             Winston & Strawn's Approximate Hours on Specific Tasks

                                Task                                          Date               Hours
Motion to Dismiss State Claims & Motion to Transfer Venue; Replies to
Perfect 10's opposition to Defendants' Motion to Dismiss & Motion to
Transfer Venue                                                           May - June 2011          580
Defendants' Opposition to Perfect 10's Motion for Preliminary
Injunction                                                              July - August 2011        570
Defendants' Motion to Strike Perfect 10's Reply in Support of the
Motion for Preliminary Injunction                                        September 2011           98
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                   Exhibit
                     D
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                                             LAFFEY MATRIX – 2014-2015

                                  Years (Rate for June 1 – May 31, based on prior year's CPI-U)

     Experience        14-15

      20+ years          520

     11-19 years         460

      8-10 years         370

      4-7 years          300

      1-3 years          255

     Paralegals &        150
     Law Clerks


                                                        Explanatory Notes:

1.    This matrix of hourly rates for attorneys of varying experience levels and paralegals/law clerks has been prepared by
      the Civil Division of the United States Attorney's Office for the District of Columbia. The matrix is intended to be
      used in cases in which a "fee-shifting" statute permits the prevailing party to recover "reasonable" attorney's fees.
      See, e.g., 42 U.S.C. ' 2000e-5(k) (Title VII of the 1964 Civil Rights Act); 5 U.S.C. ' 552(a)(4)(E) (Freedom of
      Information Act); 28 U.S.C. ' 2412(b) (Equal Access to Justice Act). The matrix does not apply to cases in which
      the hourly rate is limited by statute. See 28 U.S.C. ' 2412(d).

2.    This matrix is based on the hourly rates allowed in Laffey v. Northwest Airlines, Inc., 572 F. Supp. 354 (D.D.C.
      1983), aff'd in part, rev'd in part on other grounds, 746 F.2d 4 (D.C. Cir. 1984), cert. denied, 472 U.S. 1021 (1985).
      It is commonly referred to by attorneys and federal judges in the District of Columbia as the "Laffey Matrix" or the
      "United States Attorney's Office Matrix." The various "brackets" in the column headed "Experience" refer to the
      years following the attorney's graduation from law school, and are intended to correspond to "junior associates" (1-3
      years after law school graduation), "senior associates" (4-7 years), "experienced federal court litigators" (8-10 and 11-
      19 years), and "very experienced federal court litigators" (20 years or more). Thus, the "1-3 years" bracket is
      generally applicable to attorneys in their first, second, and third years after graduation from law school, and the "4-7
      years" bracket generally becomes applicable on the third anniversary of the attorney’s graduation (i.e., at the
      beginning of the fourth year following law school). See Laffey, 572 F. Supp. at 371; but cf. EPIC v. Dep’t of
      Homeland Sec., No. 11-2261, ___ F. Supp. 2d ___, 2013 WL 6047561, *6 -*7 (D.D.C. Nov. 15, 2013) (attorney not
      admitted to bar compensated at "Paralegals & Law Clerks" rate); EPIC v. Dep’t of Homeland Sec., 982 F. Supp.2d
      56, 60-61 (D.D.C. 2013) (same).

3.    The hourly rates approved in Laffey were for work done principally in 1981-82. The matrix begins with those rates.
      See Laffey, 572 F. Supp. at 371 (attorney rates) & 386 n.74 (paralegal and law clerk rate). The rates for subsequent
      yearly periods were determined by adding the change in the cost of living for the Washington, D.C. area to the
      applicable rate for the prior year, and then rounding to the nearest multiple of $5 (up if within $3 of the next multiple
      of $5). The result is subject to adjustment if appropriate to ensure that the relationship between the highest rate and
      the lower rates remains reasonably constant. Changes in the cost of living are measured by the Consumer Price
      Index for All Urban Consumers (CPI-U) for Washington-Baltimore, DC-MD-VA-WV, as announced by the Bureau
      of Labor Statistics for May of each year.

4.    Use of an updated Laffey Matrix was implicitly endorsed by the Court of Appeals in Save Our Cumberland
      Mountains v. Hodel, 857 F.2d 1516, 1525 (D.C. Cir. 1988) (en banc). The Court of Appeals subsequently stated that
      parties may rely on the updated Laffey Matrix prepared by the United States Attorney's Office as evidence of
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 prevailing market rates for litigation counsel in the Washington, D.C. area. See Covington v. District of Columbia, 57
 F.3d 1101, 1105 & n.14, 1109 (D.C. Cir. 1995), cert. denied, 516 U.S. 1115 (1996). Most lower federal courts in the
 District of Columbia have relied on the United States Attorney's Office Matrix, rather than the so-called "Updated
 Laffey Matrix," as the "benchmark for reasonable fees" in this jurisdiction. Miller v. Holzmann, 575 F. Supp. 2d 2,
 18 n.29 (D.D.C. 2008) (quoting Pleasants v. Ridge, 424 F. Supp. 2d 67, 71 n.2 (D.D.C. 2006)); see, e.g., Berke v.
 Bureau of Prisons, 942 F. Supp. 2d 71, 77 (D.D.C. 2013); Heller v. District of Columbia, 832 F. Supp. 2d 32, 40-49
 (D.D.C. 2011); American Lands Alliance v. Norton, 525 F. Supp. 2d 135, 150 (D.D.C. 2007). But see Salazar v.
 District of Columbia, 123 F. Supp. 2d 8, 14-15 (D.D.C. 2000). The United States Attorney's Office does not use the
 "Updated Laffey Matrix" to determine whether fee awards under fee shifting statutes are reasonable.
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                   Exhibit
                     E
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                                            ID #:35981
|    | Caution
As of: January 12, 2015 2:28 PM EST

                               In re HPL Techs., Inc., Secs. Litig.
                  United States District Court for the Northern District of California
                                         April 22, 2005, Decided
                                           No C-02-3510 VRW

Reporter
366 F. Supp. 2d 912; 2005 U.S. Dist. LEXIS 7244; 61 Fed. R. Serv. 3d (Callaghan) 693; Fed. Sec. L. Rep.
(CCH) P93,238

In Re HPL TECHNOLOGIES, INC, SECURITIES LITIGATION

Prior History: Casden v. HPL Techs., Inc., 2003 U.S. Dist. LEXIS 19606 (N.D. Cal., Sept. 29, 2003)

Case Summary

Procedural Posture

Plaintiff and defendants had entered into a settlement agreement in a class action brought pursuant to
15 U.S.C.S. § 78u-4 of the Private Securities Litigation Reform Act of 1995. Plaintiff’s lead counsel
filed a motion for an award of attorney’s fees and expenses, to be paid out of a common fund of $ 17
million and 7 million shares of stock--the combined settlement consideration from all defendants.

Overview

Lead plaintiff’s counsel sought an award of 15 percent of the common fund or $ 2.76 million. The court
found that deference to lead plaintiff’s agreement to a 15 percent fee was unwarranted because the fee
negotiations did not reflect the market value of lawyer services. Rather, lead plaintiff apparently just
endorsed lead counsel’s proposed fee of 15 percent. The court decided to cross-check the requested
amount against a lodestar calculation. The court valued the stock, which had a low and fluctuating
value, as worth $ 0.20 per share--a third to a fifth of its recent market price. The court found that a large
fraction of lead counsel’s overall time was spent by a senior attorney in settlement discussions and
preparation. Therefore, use of a blended hourly rate was rejected. The lodestar cross-check entailed
evaluation of the multiplier implied by lead counsel’s requested fee ($ 2.76 million) and lead counsel’s
lodestar fee (computed as $ 768,091.25). These data implied a multiplier of 3.59, which the court found
too high. The court determined that a reasonable percentage fee would be 11 percent of the common
fund.

Outcome

The court granted lead counsel an award of $ 59,434 in expenses, to be paid from the cash portion of
the common fund. Additionally, the court granted lead counsel a fee award of $ 1,870,000 cash plus
770,000 shares of stock, representing 11 percent of the common fund.
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LexisNexis® Headnotes

  Civil Procedure > ... > Class Actions > Class Attorneys > General Overview
  Civil Procedure > ... > Class Actions > Class Attorneys > Fees
  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees

HN1 Merely comparing percentages of amounts recovered as attorney’s fees in class actions overlooks
the factors that may make a certain percentage fee reasonable in one case and unreasonable in another.
And a theoretical construct as flexible as a benchmark seems to offer an all too tempting substitute for
the searching assessment that should properly be performed in each case. Moreover, the benchmark
percentage should be adjusted, or replaced by a lodestar calculation, when special circumstances
indicate that the percentage recovery would be either too small or too large in light of the hours devoted
to the case or other relevant factors.

  Admiralty & Maritime Law > ... > Salvage > Equitable Salvage > General Overview
  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees

HN2 Percentage awards of attorney’s fees are not meant to be a windfall for class counsel at the
expense of the class. Nor should a lawyer’s fee be likened to a case of salvage, where reward is given
to the successful finder with little regard to how much or how little effort the finder expended.

  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees

HN3 There is no defensible normative reason that the amount of an attorney’s fee ought to depend on
the method used to compute it. Both methods should result in a ″reasonable″ fee, and reasonableness
cannot logically depend on whether the fee is expressed as a percentage of the recovery or the product
of hours and rates. Hence, when counsel apply for a fee award on a percentage basis, the requested
award should approximate the fee counsel would have claimed on a lodestar basis. The two fee
computations can be compared by a multiplier that, in the context of lodestar fee awards, is thought
to represent a premium on counsel’s services reflecting the ex ante risk of taking the case and the
superior results achieved in the face of that risk.

  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees

HN4 A proposed percentage attorney’s fee can and should be compared against the fee that lead
counsel would have been awarded on a lodestar basis. If the multiplier implied by that comparison is
reasonable, then the percentage-based fee request is reasonable as well; if the implied multiplier is
unreasonably high, then so is the proposed percentage fee award.

  Civil Procedure > ... > Class Actions > Class Attorneys > General Overview
  Civil Procedure > ... > Class Actions > Class Attorneys > Fees
  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
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  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > General
  Overview
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Lead Plaintiff

HN5 A fairly systematic, although not terribly difficult assessment of the time devoted to a case and
the value to be attached to that time is required to enable a lodestar cross-check of a percentage
attorney’s fee to comply with the Federal Rules’ mandate of reasonableness in Fed. R. Civ. P. 23(h).

  Antitrust & Trade Law > ... > Private Actions > Costs & Attorney Fees > Clayton Act
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > General
  Overview
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Lead Plaintiff

HN6 A superficial fee arrangement of 15 percent of the settlement recovery is apparently permitted
under 15 U.S.C.S. § 78u-4 of the Private Securities Litigation Reform Act of 1995 (PSLRA), which
with respect to fee arrangements requires only that the lead plaintiff shall, subject to the approval of
the court, select and retain counsel to represent the class. 15 U.S.C.S. § 78u-4(a)(3)(B)(v). The PSLRA
says nothing about when retention must occur; nor, for that matter, does retaining counsel necessarily
involve concluding a fee arrangement.

  Antitrust & Trade Law > ... > Private Actions > Costs & Attorney Fees > Clayton Act
  Civil Procedure > ... > Class Actions > Class Attorneys > General Overview
  Civil Procedure > ... > Class Actions > Class Attorneys > Fees
  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
  Legal Ethics > Client Relations > Attorney Fees > Fee Agreements
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > General
  Overview
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Lead Plaintiff

HN7 As a matter of first principles, the earlier a fee arrangement is concluded between lead plaintiff
in a class action and lead counsel, the more deference the court should pay to that fee agreement. This
is because fee agreements set early in the litigation--ex ante, so to speak--are more likely than ex post
fee agreements to be the product of market forces (i.e., competition among counsel proposing to
represent the class). Those same market forces are thought to result in reasonable fee agreements
between attorneys and clients in individual (i.e., non-class) cases. Under 15 U.S.C.S. § 78u-4 of the
Private Securities Litigation Reform Act of 1995 (PSLRA), lead plaintiff provisions are largely built
around an ideal of private ordering and client-driven class-action litigation; it is therefore plausible that
the PSLRA implicitly counsels deference to fee arrangements concluded early in the litigation. It is
inappropriate--indeed, downright unfair to class counsel--to take a fee arrived at by a market-based
mechanism (such as by a court-administered auction or by arms’ length negotiation between lead
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plaintiff and lead counsel) and subject it to further review by the court; such a process will often leave
class counsel with the worst of both worlds.

  Antitrust & Trade Law > ... > Private Actions > Costs & Attorney Fees > Clayton Act
  Civil Procedure > ... > Class Actions > Class Attorneys > General Overview
  Civil Procedure > ... > Class Actions > Class Attorneys > Fees
  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > General
  Overview
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Costs &
  Attorney Fees
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Lead Counsel
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Lead Plaintiff

HN8 There is no textual indication in 15 U.S.C.S. § 78u-4 of the Private Securities Litigation Reform
Act of 1995 (PSLRA) that it supplants Fed. R. Civ. P. 23(h), which obligates the court to evaluate and
approve all fee awards in class actions. If anything, certain provisions of the PSLRA affirmatively
command the court to remain involved in approving lead counsel and lead counsel’s fees, including
15 U.S.C.S. § 78u-4(a)(3)(B)(v) (requiring that lead plaintiff shall, subject to the approval of the court,
select and retain counsel) and 15 U.S.C.S. § 78u-4(a)(6) (providing that attorney’s fees awarded by the
court shall not exceed a reasonable percentage of recovery).

  Antitrust & Trade Law > ... > Private Actions > Costs & Attorney Fees > Clayton Act
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
  Legal Ethics > Client Relations > Attorney Fees > Fee Agreements
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > General
  Overview
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Costs &
  Attorney Fees
  Securities Law > Civil Liability Considerations > Securities Litigation Reform & Standards > Lead Plaintiff

HN9 The retainer agreement of a lead plaintiff in an action brought under 15 U.S.C.S. § 78u-4 of the
Private Securities Litigation Reform Act of 1995 (PSLRA), is far from the final word on what counsel
will actually get paid, because class counsel must first be appointed, subject to the approval of the
court, 15 U.S.C.S. § 78u-4-(a)(3)(B)(v), and in the normal case (virtually the universal case) where
there is a settlement, the court must approve the actual fees paid, subject to the PSLRA’s limitations,
pursuant to 15 U.S.C.S. § 78u-4(a)(6).

  Civil Procedure > ... > Class Actions > Class Attorneys > General Overview
  Civil Procedure > ... > Class Actions > Class Attorneys > Fees
  Civil Procedure > Special Proceedings > Class Actions > Compromise & Settlement
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  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees

HN10 In applying a lodestar cross-check of a requested percentage-based attorney’s fee award in a
class action, the court must first determine the dollar value of the proposed percentage-based fee
award. In the typical case, this is straightforward, because settlement consideration is delivered entirely
in the form of cash.

  Civil Procedure > Special Proceedings > Class Actions > Judicial Discretion
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees

HN11 A common fund fee award serves to reward counsel for creativity and skill in enlarging a
settlement fund beyond what was thought possible or likely at the inception of the case. As such, it is
worth recognizing the value of class counsel’s efforts at extracting a considerable amount of
unconventional settlement consideration from defendants whose cash resources are limited. Treating
non-cash settlement consideration as if it were cash can overstate the dollar value of counsel’s
proposed percentage fee and thus penalize class counsel.

  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
  Legal Ethics > Client Relations > Attorney Fees > Excessive Fees

HN12 Three figures are salient in a lodestar attorney’s fee calculation: (1) counsel’s reasonable hours,
(2) counsel’s reasonable hourly rate and (3) a multiplier thought to compensate for various factors
(including unusual skill or experience of counsel, or the ex ante risk of nonrecovery in the litigation).
In performing a lodestar cross-check, however, the multiplier is implied by the ratio of the proposed
percentage fee to the computed lodestar fee. For example, for a proposed percentage fee of $ 250,000
and a corresponding lodestar fee of $ 100,000, the implied multiplier is 2.5. This implied multiplier
may be assessed for reasonableness. Accordingly, the court need only consider counsel’s reasonable
hours and counsel’s reasonable hourly rate in computing the lodestar.

  Civil Procedure > Attorneys > General Overview
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
  Criminal Law & Procedure > ... > Counsel > Right to Counsel > General Overview

HN13 Billing all attorney time at a ″blended″ hourly rate is probably appropriate in most lodestar
cross-check computations for three reasons. First, it simplifies calculations. Second, it encourages
economically efficient allocation of work within class counsel’s firm. Third, it avoids the problem of
experience inflation. But the central role of settlement negotiations in a case--and the central role of
a senior attorney in those negotiations--suggests that typical blended hourly rates are inappropriate
where the bulk of attorney time is devoted to settlement negotiations and the preparation of settlement
documents.

  Civil Procedure > ... > Class Actions > Class Attorneys > General Overview
  Civil Procedure > ... > Class Actions > Class Attorneys > Fees
  Civil Procedure > ... > Costs & Attorney Fees > Attorney Fees & Expenses > Reasonable Fees
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HN14 The Class Action Reports multiplier value data are contaminated because the courts making the
reported attorney’s fee awards have been inconsistent in reporting a base hourly rate.

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Jason Smith, Brodsky & Smith LLC, Bala Cynwyd, PA.

Judges: VAUGHN R WALKER, United States District Chief Judge.

Opinion by: VAUGHN R WALKER

Opinion

[*913] ORDER
By an order and judgments filed March 11, 2005 (Doc # # 164-166), the court granted final approval
to two settlements and a plan of allocation in this securities fraud class action. In the same order, the
court reserved decision-on lead plaintiff’s [*914] motion for an award of attorneys’ fees and expenses
to lead counsel. Doc # 164 at 9-12. The award of fees and expenses is to be paid out of a common fund
of $ 17 million and 7 million shares of HPL Technologies common stock (″HPL stock″) -- the
combined settlement consideration from all defendants. Under the proposed fee award, lead counsel
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would receive an award of 15% of the common fund (taken in both cash and stock), plus lead counsel’s
reasonable expenses. [**3] The requested 15% award translates to $ 2.55 million and 1.05 million
shares of HPL stock.

At first glance, such a percentage seems reasonable because fee awards in other cases have captured
a larger portion of common fund recoveries (although in still other cases, lower percentage fee awards
have been made). Furthermore, the fee here is below what has, in some decisions, been characterized
as the 25% ″benchmark″ for common fund fee awards. See Paul, Johnson, Alston & Hunt v Graulty,
886 F2d 268, 273 (9th Cir 1989).

For the reasons set forth here, the court rejects reliance solely on a comparison of the percentage fee
requested here with other percentage awards or with a so-called benchmark percentage. HN1 Merely
comparing percentages overlooks the factors that may make a certain percentage fee reasonable in one
case and unreasonable in another. And ″a theoretical construct as flexible as a benchmark’ seems to
offer an all too tempting substitute for the searching assessment that should properly be performed in
each case.″ Goldberger v Integrated Resources, Inc, 209 F3d 43, 52 (2d Cir 2000). Moreover, the court
has been admonished that ″the benchmark [**4] percentage should be adjusted, or replaced by a
lodestar calculation, when special circumstances indicate that the percentage recovery would be either
too small or too large in light of the hours devoted to the case or other relevant factors.″ Six (6)
Mexican Workers v Arizona Citrus Growers, 904 F2d 1301, 1311 (9th Cir 1990). So the circumstances
that require adjusting the percentage need to be considered.

HN2 Percentage awards are not meant to be a windfall for class counsel at the expense of the class.
Nor should ″[a] lawyer’s fee * * * be likened to a case of salvage, where reward is given to the
successful finder, * * * with little regard to how much or how little effort the finder expended.″ Klein
ex rel SICOR, Inc v Salvi, 2004 U.S. Dist. LEXIS 4844, 2004 WL 596109 at *11 (S.D. N.Y. 2004). An
inspection of the circumstances in this case indicates that the requested fee is ″too large in light of the
hours devoted″ and ″other relevant factors.″ This conclusion -- based on the circumstances and facts
of this case -- is bolstered by the court’s review of the literature which suggests that percentage-based
fees in common fund class actions systematically exceed lodestar-based fees. [**5] See, e g, Theodore
Eisenberg & Geoffrey P Miller, Attorney Fees in Class Action Settlements: An Empirical Study, 1 J
Empirical Legal Stud 27 (2004) (concluding that, controlling for other variables, lodestar-based fees
in common fund class actions are about 89% as much as percentage-based fees).

The court can envision HN3 no defensible normative reason in this case -- or indeed in common fund
cases generally -- that the amount of the fee ought to depend on the method used to compute it. Both
methods should result in a ″reasonable″ fee, and reasonableness cannot logically depend on whether
the fee is expressed as a percentage of the recovery or the product of hours and rates. Hence, when
counsel apply for a fee award on a percentage basis, the requested award should approximate the fee
counsel would [*915] have claimed on a lodestar basis. The two fee computations can be compared
by a multiplier that, in the context of lodestar fee awards, is thought to represent a premium on
counsel’s services reflecting the ex ante risk of taking the case and the superior results achieved in the
face of that risk.

Stated another way, HN4 a proposed percentage fee can (and, for the reasons hereafter [**6] explained,
should) be compared against the fee that lead counsel would have been awarded on a lodestar basis.
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If the multiplier implied by that comparison is reasonable, then the percentage-based fee request is
reasonable as well; if the implied multiplier is unreasonably high, then so is the proposed percentage
fee award. See, e g, In re GMC Pick-Up Tuck Fuel Tank Prods Liability Litig, 55 F.3d 768, 820-21 &
n40 (3d Cir 1995) (Becker, J) (describing the lodestar cross-check); Vizcaino v Microsoft Corp, 290
F3d 1043, 1050-51 (9th Cir 2002) (approving a district court’s use of a lodestar cross-check).

A lodestar cross-check of this type is now in common use in district courts elsewhere in the country.
See, e g, In re Cendant Corp Securities Litigation, 109 F Supp 2d 285, 302 (D NJ 2000)
(″Traditionally, the appropriate’ percentage [fee award] is * * * subjected to a cross-check.″), vacated
and remanded by In re Cendant Corp Litigation, 264 F3d 201 (3d Cir 2001); In re Bristol-Myers
Squibb Securities Litigation, 361 F. Supp. 2d 229, 2005 U.S. Dist. LEXIS 2917, 2005 WL 447189 at
*3 (S.D. N.Y. 2005) (citing Goldberger, 209 F3d at 50) (″Typically, [**7] courts utilize the percentage
method and then cross-check’ the adequacy of the resulting fee by applying the lodestar method.″). The
Manual for Complex Litigation (Fourth) endorses the lodestar cross-check. Manual for Complex
Litigation (Fourth) § 14.122 (FJC, 2004) (″The lodestar is at least useful as a cross-check on the
percentage method by estimating the number of hours spent on the litigation and the hourly rate * *
*.″); id § 21.724. The court heeds these authorities.

To that end, the court requested at the final approval hearing on February 24, 2005, a lodestar
computation from lead counsel. Lead counsel complied the very next day. Barton Decl (Doc # 162).
Upon review of the Barton declaration, which establishes a base lodestar fee of approximately $
900,000, the court requested more detailed information about the breakdown of hours and billing rates
of the attorneys at lead counsel’s firm. Because it was deferring decision on the attorney fee issue, the
court also requested further detail about the proposed award of expenses. Lead counsel has satisfied
both of the court’s requests, Sidener Decl (Doc # 167), and lead plaintiff’s motion for an award of
attorneys’ [**8] fees and expenses (Doc # 142) is now ripe for decision. These inquiries, and class
counsel’s quick responses, greatly aided the court’s consideration of what information is necessary to
make a lodestar cross-check work. It is apparent that HN5 a fairly systematic, although not terribly
difficult assessment of the time devoted to a case and the value to be attached to that time is required
to enable a lodestar cross-check of a percentage fee to comply with the Federal Rules’ mandate of
reasonableness. See FRCP 23(h).

I

This case is governed by the Private Securities Litigation Reform Act of 1995 (PSLRA). Accordingly,
the court must first determine what discretion (if any) it has under the PSLRA to depart from an award
of fees and expenses that is proposed by a lead plaintiff. There is apparently no Ninth Circuit authority
on whether the court retains its usual authority [*916] under FRCP 23(h) to fix an award of attorneys
fees and expenses in a common fund class action. Lead counsel have not contended that the court lacks
its usual authority, apparently assuming that the court possesses such authority. The court [**9] has
nevertheless considered the matter.

Here, lead plaintiff did not negotiate a fee arrangement with lead counsel immediately after lead
plaintiff was selected. (By ″fee arrangement,″ the court refers to an agreement, such as an individual
plaintiff would make with an attorney, that provides for compensation for the attorney’s work and an
allocation of the out-of-pocket expenses of litigation.) Rather, Frederick Stanske (a Senior Vice
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President, Portfolio Manager and board member of lead plaintiff) ″personally approved of [l]ead
[c]ounsel’s fee request of fifteen percent (15%) of the settlement recovery.″ Stanske Decl (Doc # 128)
P 8. Lead plaintiff has not weighed in on the proposed award of expenses, and no further evidence on
lead plaintiff’s negotiation for or approval of the requested fee is before the court. HN6 Such a
superficial fee arrangement is apparently permitted under the PSLRA, which with respect to fee
arrangements requires only that the lead plaintiff ″shall, subject to the approval of the court, select and
retain counsel to represent the class.″ 15 USC § 78u-4(a)(3)(B)(v) (emphasis added). The PSLRA says
nothing about when retention [**10] must occur; nor, for that matter, does ″retain[ing] counsel″
necessarily involve concluding a fee arrangement.

HN7 As a matter of first principles, the earlier a fee arrangement is concluded between lead plaintiff
and lead counsel, the more deference the court should pay to that fee agreement. This is because fee
agreements set early in the litigation -- ex ante, so to speak -- are more likely than ex post fee
agreements to be the product of market forces (i e, competition among counsel proposing to represent
the class). See, e g, In re Synthroid Marketing Litigation, 264 F3d 712, 718-19 (7th Cir 2001)
(Easterbrook, J). Those same market forces are thought to result in reasonable fee agreements between
attorneys and clients in individual (i e, non-class) cases. The PSLRA’s lead plaintiff provisions are
largely built around an ideal of private ordering and client-driven class-action litigation; it is therefore
plausible that the PSLRA implicitly counsels deference to fee arrangements concluded early in the
litigation. There is also Judge Shadur’s wise observation that it is inappropriate -- indeed, downright
unfair to class counsel -- to take a fee arrived at [**11] by a market-based mechanism (such as by a
court-administered auction or by arms’ length negotiation between lead plaintiff and lead counsel) and
subject it to further review by the court; such a process will often leave class counsel with the worst
of both worlds. See In re Comdisco Securities Litigation, 150 F Supp 2d 943, 947-49 (ND Ill 2001).
But deference to lead plaintiff is unwarranted here because of the lack of evidence that lead plaintiff
and lead counsel negotiated a fee agreement early in this litigation in a way that reflects the market
value of lawyer services. Rather, lead plaintiff’s involvement seems to have been confined to an
endorsement of lead counsel’s proposed fee. (Of course, lead counsel’s desire to secure that
endorsement may have constrained the fee requested here, but the court has no evidence of that before
it.)
In any event, even if lead plaintiff had shopped around for lawyer services and concluded a
market-based fee arrangement, HN8 there is no textual indication in the PSLRA that it supplants FRCP
23(h), which obligates the court to evaluate and approve all fee awards in class actions. If anything,
 [**12] certain provisions of the PSLRA [*917] affirmatively command the court to remain involved
in approving lead counsel and lead counsel’s fees. See 15 USC § 78u-4(a)(3)(B)(v) (requiring that lead
plaintiff ″shall, subject to the approval of the court, select and retain counsel″); 15 USC § 78u-4(a)(6)
(″[A]ttorneys’ fees * * * awarded by the court * * * shall not exceed a reasonable percentage [of
recovery].″). The Ninth Circuit has recognized this in dictum:

   HN9 [A] lead plaintiff’s retainer agreement is far from the final word on what counsel will
   actually get paid, because class counsel must first be appointed, ″subject to the approval of the
   court,″ 15 USC § 78u-4(a)(3)(B)(v), and in the normal case (virtually the universal case) where
   there is a settlement, the court must approve the actual fees paid, subject to the [PSLRA’s]
   limitations. See 15 USC § 78u-4(a)(6).
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In re Cavanaugh, 306 F3d 726, 733 (9th Cir 2002).

Likewise, the Third Circuit’s attorney fee opinions arising out of the Cendant Corp securities litigation
recognize that even under the PSLRA [**13] courts must still play the central role in making fee
awards. In In re Cendant Corp Litigation, 264 F3d 201, 285 (3d Cir 2001) (Becker, CJ), the court
rejected the district court’s use of an auction to select class counsel and remanded for consideration of
the presumptively reasonable fee arrangement negotiated by lead plaintiff with lead counsel. Yet the
court noted that the fee under the retainer agreement was ″staggering in [its] size,″ and mandated that
″the possibility of rebuttal of the presumption of reasonableness″ attaching to the negotiated fee
arrangement ″must be seriously considered * * * on remand.″ Id. Such an evaluation would be made
″according to the standards * * * previous cases have set down for class actions not governed by the
PSLRA.″ Id. And the most recent Cendant opinion explained:

     [W]hile the PSLRA certainly represents a shift toward the traditional attorney-client relationship,
     it has not wholly adopted that paradigm. Securities class actions are still class actions, and the
     court retains the power to award fees. See Fed R Civ P 23(h) (″In an action certified as a class
     action, the court [**14] may award reasonable attorney fees * * *.″). And courts would be
     remiss if they abdicated all responsibility to the lead plaintiffs. The lead plaintiff is not the sole
     client in a PSLRA class action; instead, the lead plaintiff serves as a fiduciary for the entire
     class. A court must therefore retain oversight over lead plaintiff’s compensation decisions in
     order to ensure that the lead plaintiff has fulfilled its fiduciary duties.

In re Cendant Corp Securities Litigation, -- F3d --, 404 F.3d 173, 2005 U.S. App. LEXIS 5885, 2005
WL 820592 at *18 (3d Cir) (Becker, J). The court will attempt to follow this wise guidance.

The court concludes that even if the PSLRA requires deference to lead plaintiff’s negotiated fee
arrangement with lead counsel, no deference is owed here. Furthermore, even when deference is owed,
lead plaintiff’s deal with counsel must still square with objectively reasonable fees and expenses.

II

Deference or no deference, the award of expenses in this case poses no problem. Lead counsel’s
detailed breakdown of the expenses incurred in this case, Sidener Decl (Doc # 167) Ex B, and their
quite modest amount make it easy to conclude that counsel’s expenses are reasonable. Accordingly,
[**15] the court GRANTS lead counsel an award of $ 59,434.57 in expenses, to be paid from the cash
portion of the common fund.

[*918] III

Turning to the question of a fee award, the court previously indicated that a fee of 15% of the common
fund appears at first impression reasonable. Doc # 164 at 9; Doc # 131 at 13. In its order preliminarily
approving an award of fees, the court reflected this impression:

     This is a common fund class action, and counsel seeks * * * 15% of the class’s gross recovery,
     which counsel will take in cash and HPL common stock in proportion to the settlement fund.
     * * * The court has been impressed with the quality of plaintiff counsel’s representation in this
     matter, and preliminarily finds the requested fees and costs to be reasonable in light of the
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    nature of the case, the risks involved in the litigation, the size of the recovery and the
    negotiation process that led to the fee agreement.
    Moreover, the fee request is on the low end of the fees recovered in comparable cases. The
    court undertook to analyze the data compiled in Stuart J Logan, Jack Moshman & Beverly C
    Moore, Attorney Fee Awards in Common Fund Class Actions, 24 Class Action Rep 167 (2003),
     [**16] which provides data covering cases from the mid-1970s to mid-2002. Specifically, the
    court looked at securities class action cases in the $ 10 to $ 20 million gross recovery range,
    the $ 20 to $ 30 million gross recovery range and the combined $ 10 to $ 30 million gross
    recovery range. For those sets of cases, the range, mean and standard deviation for the
    percentage of the common fund devoted to attorneys’ fees and costs were:
                            $ 20 to $ 30mm          $ 10 to $ 20mm           $ 10 to $ 30mm
         Range              7.6% to 70.8%           7.6% to 55.6%            7.6% to 70.8%
         Mean               27.7%                   O29.5%                   29.0%
         Std Dev            10.9%                   O9.0%                    9.5%

The attorneys’ fees and costs sought here represent, depending on the exact amount of costs and the
actual value of the HPL stock, 15.3% to 15.4% of the common fund. This places the request in this case
at the low end of the ranges above. In fact, assuming normally distributed fee awards, the attorneys’
fees and costs sought here fall no higher than the 13th percentile of fee awards.

Doc # 131 at 13:15-14:20.

Further consideration suggests that the court’s initial impression was wrong. Application of the
lodestar cross-check makes plain that this first analysis -- which [**17] considered only percentage-based
fees and failed to take account of the nature and amount of work put into the case -- is insufficient to
ensure a reasonable fee. Relying on percentages without reference to these other factors can be, like
blind reliance on benchmarks, an ″all too tempting substitute for the searching assessment that should
properly be performed.″ Goldberger, 209 F3d at 52. Here, a lodestar cross-check warrants a fee lower
than that sought by lead counsel.

HN10 In applying a lodestar cross-check, the court must first determine the dollar value of the
proposed percentage-based fee award. In the typical case, this is straightforward, because settlement
consideration is delivered entirely in the form of cash. Here, however, a component of the settlement
consideration is in the form of HPL stock. Accordingly, the court must first value the HPL stock in
dollar terms.

A

While the HPL stock has a market price (since the settlement, as high as $ 0.93 / share), that price
appears something of an illusion for valuation purposes, because the market for HPL stock is highly
illiquid and quite volatile. Although the court has been unable to locate volume data, the [**18] stock
is traded only on the ″pink sheets″; [*919] and in just the week following the issuance of the court’s
final approval order, the stock traded as low as $ 0.72 / share and as high as $ 0.93 / share. Thus, there
is not only considerable uncertainty about the market price of the stock, but also the more fundamental
uncertainty that lead counsel could liquidate the million-plus shares they would receive under the
proposed 15% award.
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Moreover, HN11 a common fund fee award serves to reward counsel for creativity and skill in
enlarging a settlement fund beyond what was thought possible or likely at the inception of the case.
See, e g, Paul, Johnson, Alston & Hunt, 886 F2d at 271 (″Since the Supreme Court’s 1885 decision
in Central Railroad & Banking Co of Ga v Pettus, 113 US 116, 28 L. Ed. 915, 5 S. Ct. 387 (1885), it
is well settled that the lawyer who creates a common fund is allowed an extra reward, beyond that
which he has arranged with his client, so that he might share the wealth of those upon whom he has
conferred a benefit.″). As such, it is worth recognizing the value of class counsel’s efforts at extracting
a considerable amount of unconventional settlement consideration from defendants [**19] whose cash
resources were limited. Treating non-cash settlement consideration as if it were cash can overstate the
dollar value of counsel’s proposed percentage fee and thus penalize class counsel. When non-cash
consideration is valued too dearly, the percentage fee when cross-checked against a lodestar fee can
make counsel a victim of their own ingenuity. Thus, for reasons of proper deterrence, effective
incentives and fairness to counsel, it is appropriate to place a very modest value on the HPL stock.

Accordingly, the court concludes that it is inappropriate to value the HPL stock component of lead
counsel’s fee award at its market price. Instead, the court will treat the HPL stock as worth $ 0.20 /
share -- a third to a fifth of its recent market price. By this valuation, the court certainly expresses no
view of the stock’s actual value; the court simply must place some dollar value on a large block of an
illiquid security, and doing so at this very substantial discount appears fair to counsel.

B

Valuing the HPL stock at $ 0.20 / share, the settlement fund is worth $ 18.4 million ($ 17 million in
cash and $ 1.4 million in stock) and the court is confronted with a straightforward [**20] lodestar
cross-check exercise. The first step is to establish a lodestar figure; the second step is to cross-check
the proposed percentage fee against this lodestar figure.

1

HN12 Three figures are salient in a lodestar calculation: (1) counsel’s reasonable hours, (2) counsel’s
reasonable hourly rate and (3) a multiplier thought to compensate for various factors (including
unusual skill or experience of counsel, or the ex ante risk of nonrecovery in the litigation). In
performing a lodestar cross-check, however, the multiplier is implied by the ratio of the proposed
percentage fee to the computed lodestar fee. For example, for a proposed percentage fee of $ 250,000
and a corresponding lodestar fee of $ 100,000, the implied multiplier is 2.5. This implied multiplier
may be assessed for reasonableness. Accordingly, the court need only consider counsel’s reasonable
hours and counsel’s reasonable hourly rate in computing the lodestar.

For hourly rates, the court will simply use current (i e, 2005) hourly rates; doing so simplifies the
calculation and accounts for the time value of money in that lead counsel has not been paid
contemporaneously [*920] with their work in this case. See Vizcaino v Microsoft Corp, 290 F3d 1043,
1051 (9th Cir 2002) [**21] (citing Gates v Deukmejian, 987 F2d 1392, 1406 (9th Cir 1992)
(″Calculating fees at prevailing rates to compensate for delay in receipt of payment was within the
district court’s discretion.″); Fischel v Equitable Life Assurance Society, 307 F3d 997 (9th Cir 2002)
(citing Florida ex rel. Butterworth v. Exxon Corp. (In re Petroleum Prods. Antitrust Litig.), 109 F.3d
602, 609 (9th Cir 1997)) (district court has discretion to compensate for delayed payment by either
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applying current rates or applying historical rates with a prime rate enhancement). Of course, the
annual rise in an attorney’s billing rate represents not only inflation but also the increased experience
of the attorney, if different hourly rates are used (as the court does here) for lawyers of different
experience and billing rates. But the inflationary effect should not usually grossly affect the lodestar
calculation, unless the litigation is greatly prolonged, and such is not the case here. (The problem of
″experience inflation″ can be avoided altogether by the use of a ″blended″ hourly rate, which as
explained presently has other advantages.) At any rate, the relevant data [**22] are these:
        Attorney           Experience          2005 Billing             Total             Total
                                               Rate (per hr)            Hours             lodestar
        Sidener            20 years            $ 510                            1027.50              $ 524,025.00
        Bennett            31 years            $ 550                              72.75               $ 40,012.50
        Cera               23 years            $ 525                               5.00                $ 2,625.00
        Barton             8 years             $ 360                             397.00              $ 144,900.00
        Giblin             9 years             $ 340                              66.50               $ 22,610.00
        Dirksen            4 years             $ 300                             210.50               $ 63,150.00
        Kim                2 years             $ 200                              48.25                $ 9,650.00
        Investigator       n/a                 $ 230                             401.00              $ 92, 230.00
        Paralegale         n/a                 $ 163                              29.50                $ 4,805.00
                                                               Totals           2258.00              $ 904.097.50

The above figures are as reported in the Sidener declaration (Doc # 167), with the exception that the
court has aggregated all paralegal hours and converted individual paralegal rates to a blended rate.
The Sidener declaration breaks out the hours expended by lead counsel into five categories: (1)
investigation; (2) discovery; (3) pleadings, briefs and motions; (4) court appearances; and (5)
settlement. This is an especially helpful compromise between reporting hours in the aggregate (which
is easy to review, but lacks informative detail) and generating a complete line-by-line billing report
(which offers great detail, but tends [**23] to obscure the forest for the trees). Upon review of this
breakout, the court concludes that counsel spent a reasonable number of hours on this litigation.
Additionally, two aspects are notable: First, the bulk of the hours (more than 75%) were spent on
investigation and settlement. Second, about 29% of the hours expended (and about 37% of the fees
accumulated) were devoted by Steven Sidener, the lead partner on this case, to settlement. This
captures the importance to this case of settlement preparations and discussions.

The unusually large fraction of senior attorney time devoted to settlement is also [*921] relevant to
counsel’s hourly rate. HN13 Billing all attorney time at a ″blended″ hourly rate is probably appropriate
in most lodestar cross-check computations for two reasons. First, it simplifies calculations. Second, it
encourages economically efficient allocation of work within class counsel’s firm. Third, it avoids the
problem of ″experience inflation″ mentioned above. But the central role of settlement negotiations in
this litigation -- and the central role of attorney Sidener in those negotiations -- suggest that typical
blended hourly rates (perhaps in the $ 200 per hour neighborhood) [**24] are inappropriate here. Cf
Allen v Bay Area Rapid Transit District, 2003 U.S. Dist. LEXIS 24917, 2003 WL 23333580 at *7 (ND
Cal) (concluding in a civil rights case on which two attorneys worked that ″the court has no basis for
employing a reasonable hourly billing rate in its lodestar calculation either greater or lower than the
approximate local average of $ 150 discernible from publicly available data″); Albion Pacific Property
Resources, LLC v Seligman, 329 F Supp 2d 1163, 1178 (ND Cal 2004) (holding, on a successful motion
to remand, ″plaintiff is entitled to an above-average hourly rate if it can demonstrate that its counsel
were more efficient than reasonably competent counsel would have been″ but that ″[p]laintiff has made
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no such showing″ and accordingly awarding ″a reasonable attorney fee at an hourly rate of $ 190/hr
for attorneys″); Yahoo!, Inc v Net Games, Inc, 329 F Supp 2d 1179, 1185, 1188 (ND Cal 2004)
(explaining that ″the average market rate in the local legal community as a whole is a better
approximation of the hourly rate that would be charged by reasonably competent counsel than the
actual billing rate charged by a single attorney″ and that [**25] ″[f]ocusing on the requested number
of hours as a whole rather than the requested hourly rates of individual attorneys produces better
attorney fee decisions″).

The court understands that such blended rates typically depend on the overall billing mix including
substantial time expended in discovery by junior attorneys with relatively low billings rates. Here, little
time (3.8% of the total hours) was spent on discovery, but a large fraction of lead counsel’s overall time
was spent -- and necessarily so, it seems -- by a senior attorney in settlement discussions and
preparation. Accordingly, the court concludes that use of a blended hourly rate is a poor fit for this case.

But the court must find some objective source for setting counsel’s hourly rates; the court cannot
simply look at a lone out-of-context dollar figure and pronounce it ″reasonable.″ Because the court has
rejected the use of a blended rate here, another problem arises: The court will need a variety of rates
to account for the various attorneys’ different levels of experience. One well-established objective
source for rates that vary by experience is the Laffey matrix used in the District of Columbia. See http:
  [**26] //www.usdoj.gov/usao/dc/Divisions/Civil_Division/Laffey_Matrix_4.html (citing Laffey v
Northwest Airlines, Inc, 572 F Supp 354 (D DC 1983), aff’d in part, rev’d in part on other grounds,
241 U.S. App. D.C. 11, 746 F2d 4 (DC Cir 1984)).

Under the 2005 Laffey matrix, attorneys with 20 or more years of experience bill $ 390/hour; attorneys
with 8-10 years of experience bill $ 280/hour; attorneys with 4-7 years of experience bill $ 225/hour;
attorneys with 3 or fewer years of experience bill $ 185/hour; and paralegals bill $ 110/hour. These
figures are, however, tailored for the District of Columbia, which has a somewhat lower cost of living
than the San Francisco Bay area (in which lead counsel’s firm operates); the court will adjust these
figures accordingly. The locality pay differentials within the federal courts -- which, like law firms,
employ lawyers and legal support staff -- can approximate [*922] this difference. See http://jnet.ao.dcn/
Human_Resources/Pay_Tables/2005_Pay_Tables/ Judiciary_Salary_Plan_Pay_Tables_2005.html. The
Washington-Baltimore area has a +15.98% locality pay differential; the San Francisco-Oakland-San
Jose area has a +26.39% locality pay differential. [**27] Thus, adjusting the Laffey matrix figures
upward by approximately 9% will yield rates appropriate for the Bay area. 1

Applying this adjustment and rounding, the court obtains the following rates: Attorneys with 20 or
more years of experience bill $ 425/hour; attorneys with 8-10 years of experience bill $ 305/hour;
attorneys with 4-7 years of experience bill $ 245/hour; attorneys with 3 or fewer years of experience
bill $ 200/hour; and paralegals bill $ 120/hour. Not having a suitable substitute for the investigator’s
billing rate, the court will accept the value of $ 230/hour from the Sidener declaration. Reproducing
the table above, but substituting these values and recomputing the totals yields:
           Attorney                Experience             2005 Billing     Total             Total
                                                          Rate (per hr)    Hours             lodestar
           Sidener                 20 years               $ 425                    1027.50              $ 436,687.50

1
     (126.39 - 115.98) / 115.98 = 0.08976, or about 9%.
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        Attorney            Experience          2005 Billing             Total             Total
                                                Rate (per hr)            Hours             lodestar
        Bennett             31 years            $ 425                              72.75               $ 30,918.75
        Cera                23 years            $ 425                               5.00                $ 2,125.00
        Barton              8 years             $ 305                             397.00              $ 121,085.00
        Giblin              9 years             $ 305                              66.50               $ 20,282.50
        Dirksen             4 years             $ 245                             210.50               $ 51,572.50
        Kim                 2 years             $ 200                              48.25                $ 9,650.00
        Investigator        n/a                 $ 230                             401.00              $ 92, 230.00
        Paralegale          n/a                 $ 120                              29.50                $ 3,540.00
                                                                Totals           2258.00              $ 768,091.25

[**28] In the end, this substitution reduces lead counsel’s lodestar fee by about 15% from the figure
claimed in the Sidener declaration (Doc # 167).

2

The court now turns to the lodestar cross-check, which entails evaluation of the multiplier implied by
lead counsel’s requested fee (15% percent of a $ 18.4 million settlement fund, or $ 2.76 million) and
lead counsel’s lodestar fee (computed above as $ 768,091.25). These data imply a multiplier of 3.59.
Is a multiplier of 3.59 reasonable in this case?

Unfortunately, there are not (to the court’s knowledge) any reliable compilations of the multipliers
awarded in common fund class actions against which the court could quantitatively compare this 3.59
multiplier. Multiplier values are reported in the Class Action Reports data set upon which the court has
relied in previous orders. See Stuart J Logan, Jack Moshman & Beverly C Moore, Attorney Fee Awards
in Common Fund Class Actions, 24 Class Action Rep 167 (2003). But HN14 the Class Action Reports
data are contaminated because the courts making the reported awards have been inconsistent in
reporting a base hourly rate. [*923] Floating without an empirical tether, the court shares Judge [**29]
Shadur’s sentiment in Comdisco that ″lodestar multipliers * * * seem most often to represent an effort
to provide some non-existent garb for the proverbial emperor who has no clothes. * * * Unfortunately,
any ruling that a multiplier (say) of 2.5 is reasonable, while a multiplier (say) of 3.5 or 4 is not, too
often makes it possible to paper over a result-driven conclusion with a purported semblance of
precision″ 150 F Supp 2d at 948 n10.

The court has an idea for a solution (albeit one that is impossible in this case): Class counsel’s risk of
nonrecovery (or the obverse, their probability of success) is central to the multiplier. See In re
Washington Public Power Supply System Securities Litigation, 19 F3d 1291, 1301 (9th Cir 1994)
(discussing risk multipliers). Therefore, pursuant to FRCP 23(g)(1)(C)(iii) and 23(h)(3), class counsel
ought to be required at the outset of the case to file (ex parte and under seal) a candid quantitative
assessment of their probability of success and the likely effort entailed in obtaining various recoveries.
The information submitted to [**30] the court should address not only the probability of total
nonrecovery, but also the relative likelihood of various levels of recovery, for it is only against the full
continuum of possible results that the court can assess the true success that class counsel achieves (or
fails to achieve). Moreover, counsel should provide their assessments of the likely time frame of the
litigation and the costs they expect to incur. Indeed, this information should capture not only the ″risk
of nonrecovery″ aspect of a multiplier, see id, but also whether counsel achieved exceptional results
for the class, see, e g, Van Gerwen v Guarantee Mut Life Co, 214 F3d 1041, 1045 (9th Cir 2000)
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(discussing multipliers in fee-shifting context). To avoid any concern that such evaluation would
contaminate the judge’s decisions in the case (or reveal confidences to opposing counsel), the
evaluation would remain under seal until needed to assess an application for fees and expenses. A form
order requesting this information and setting conditions for its submission is annexed to this order.
It is entirely reasonable to expect class counsel to make such assessments. Any economically rational
individual [**31] plaintiff retaining counsel would surely ask his attorneys for just this information:
″Honestly, what do I stand to recover, and how much is it going to cost me in fees?″ A sensible lead
plaintiff executing the ideal model of the PSLRA’s ″most adequate plaintiff″ would obtain exactly this
kind of information. Should not the court also seek it, especially if there is any uncertainty that lead
plaintiff has searched for counsel and negotiated at arms’ length for a reasonable fee? Further, of
course, ″entrepreneurial plaintiff’s attorneys″ (Professor Coffee’s phrase) would perform just such an
analysis before commencing the long and arduous effort that often characterizes class litigation. See
John C Coffee, Jr, Understanding the Plaintiff’s Attorney: The Implications of Economic Theory for
Private Enforcement of Law Through Class and Derivative Actions, 86 Colum L Rev 669 (1986).

Of course, in the class action context, knowing that the court would use such an ex ante assessment
to award a fee (should counsel obtain a recovery), this exercise will no doubt tempt counsel to
emphasize the difficulty of the task ahead of them. The court needs to recognize this danger. [**32]
But even with it, bearing the risk of an unduly pessimistic evaluation of the prospects at the outset of
a case or an overblown assessment of the effort required seems no worse (and may be better) than
 [*924] facing inflated claims of accomplishment when class counsel seek approval of a compromise
and an award of fees at the end of a case. An ex ante assessment has to make economic sense or it loses
credibility. Counsel who claim a one in twenty chance of a $ 10 million recovery and estimate 10,000
hours of attorney time to obtain it are obviously blowing smoke. There is a limit on feigned pessimism,
for counsel’s prediction has to square with their own economic rationality: Predictions that are too
pessimistic raise the question why counsel got involved in the case in the first place. Thus an analysis
using a blended hourly rate or the Laffey matrix could reveal whether counsel’s ex ante assessment
makes sense as a matter of law firm economics -- and therefore is credible.

Furthermore, the court can evaluate counsel’s ex ante assessment by the same standards that apply to
many other aspects of a court’s work. On the one hand, an evaluation that is not substantiated by
reasoned [**33] analysis and comparable cases would be entitled to little weight. On the other hand,
an evaluation that laid out in detail the factors that went into the evaluation and presented data to back
it up would carry a good deal of weight even if the predicted outcome, length of proceedings and costs
differed from what actually occurred.

Even absent a true ex ante assessment, the parties ought to be able to compile -- at least if the case is
settled, as often happens in successful common fund cases -- a record for the court that demonstrates
their assessments of their legal positions, their predictions of liability exposure, their settlement
positions and negotiations and so on. Perhaps a complete record is too much to ask for, but surely in
every case some contemporaneous evidence exists that is probative of the parties’ assessments of their
likelihood of success. Because the court has not asked for this information and did not ask for an ex
ante assessment in this case, the court here proceeds from a rather more limited record.
Based on this limited record, the implied multiplier of 3.59 gives the court considerable pause. It
exceeds the multipliers the court has in its experience [**34] encountered and observed in other
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common fund securities class actions. The court can investigate this intuition further by positing a pair
of scenarios -- one optimistic, one pessimistic -- of the sort that plaintiffs’ counsel almost certainly
considered at the inception of this litigation. Each scenario has several individual components
representing the probability of recovering a certain amount against a certain defendant or group of
defendants; using standard probability, the expectation value of the total scenario can be computed.
Here are two scenarios that seem possible to the court in light of its experience with company
defendants, accountant defendants and insurance coverage layers in securities class actions in the
context of the insurance coverage and resources of the defendants in this litigation:
         Scenario 1: Optimistic Scenario
         100% chance of recovering $ 3M from insurance carriers                                       $ 3.00M
         66.7% chance of recovering $ 4M more from company defs                                       $ 2.67M
         50% chance of recovering $ 10M from accountant                                               $ 5.00M
                                                                                Total expectation:   $ 10.67M
                                                          Multiplier based on $ 18.4M settlement:         1.72
         Scenario 2: Pessimistic Scenario
         50% chance of no recovery at all                                                             $ 0.00M
         50% chance of recovering $ 7M from company defendants                                        $ 3.50M
         25% chance of recovering $ 10M from accountant                                               $ 2.50M
                                                                                Total expectation:    $ 6.00M
                                                          Multiplier based on $ 18.4M settlement:         3.07

[*925]   [**35] These scenarios suggest that a multiplier between 1.72 and 3.07 is reasonable.

In fairness, there is one reason to think that a multiplier toward the higher end of this wide range is
appropriate here: Lead counsel have generated an unusually high recovery per hour invested. Even
valuing the HPL stock at $ 0.20 per share, the settlement consideration is worth $ 18.4 million -- or
about $ 8,148 per hour invested by lead counsel. If the court would approve a 15% fee award, the net
recovery per hour would be about $ 6,926. Looking to the data compiled in Logan et al, 24 Class
Action Rep 167, the court notes that in class actions with common funds of $ 10 to $ 20 million, the
average net recovery per hour is $ 2,943, with a range of $ 292 to $ 31,996. Of the 63 cases in this
range reported in Logan et al, this case would rank 6th highest in recovery per hour. In fact, this
recovery per hour even exceeds the median recovery per hour of $ 4,946 seen in ″megafund″ cases
(those with common funds that exceed $ 100 million, and thus should exhibit the greatest economies
of scale).

On the one hand, these impressive results may signal lead counsel’s unusual skill and efficiency. On
the other [**36] hand, they may signal a case ripe for generous settlement. But the latter possibility
seems less likely: As the court has observed in its prior orders, establishing liability against -- and
hence extracting a settlement from -- defendants other than Y David Lepejian (whose participation in
the fraud here was demonstrably knowing) was far from certain, and it is clear that settlement
negotiations in this case were anything but a cakewalk.

Nonetheless, the court has difficulty squaring a multiplier of 3.59 with what it knows about this
litigation. The lodestar cross-check has thus signaled that the 15% fee proposed by lead counsel with
lead plaintiff’s support leads to a multiplier higher than appears reasonable. The court concludes, in the
exercise of its discretion in light of the foregoing discussion, that a reasonable fee award is somewhat
lower than the requested 15%.
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The amount of reduction is the next question. For reference, the court has tabulated various fee
percentages, the resulting fee and the corresponding multiplier (valuing the settlement at $ 18.4
million):
                                  Percentage       Fee           Implied
                                                 (millions)     Multiplier
                                          15%     $ 2.76          3.59
                                          14%     $ 2.58          3.35
                                          13%     $ 2.39           3.11
                                          12%     $ 2.21          2.87
                                          11%     $ 2.02          2.63
                                          10%     $ 1.84          2.39
                                           9%     $ 1.66          2.16
                                           8%     $ 1.47          1.91
                                           7%     $ 1.29          1.67

[**37] Based on the court’s conclusions above about reasonable multipliers in this case, it appears that
a reasonable percentage fee in this case ranges from about 8% to about 12%. Because (1) lead plaintiff
supports a 15% fee award for lead counsel and (2) the recovery in this case is exceptionally high for
the amount of attorney time invested, the court tends to the high side of this range. In its discretion the
court fixes lead counsel’s fee award at 11% of the common fund.
Accordingly, the court awards lead counsel $ 1,870,000 cash and 770,000 shares of HPL stock from
the common fund. With respect to the award of HPL stock, to the extent that such an award represents
securities that are not registered pursuant to the Securities Act of 1933, the court finds, pursuant to
section 3(a)(10) of the Securities Act of 1933 that under the circumstances, the exchange of these
shares for a portion of lead counsel’s services in this action is fair.

[*926] IV
This order treads on somewhat unfamiliar ground, yet the court believes no less is necessary to
discharge its obligation under FRCP 23(h) to award a reasonable fee. The court’s excursion has led
it [**38] to take up legal issues that have not been briefed by counsel, and this order rests in some
measure on a factual record that counsel might have supplemented, had they known the court’s view
of the law. In other words, lead counsel have perhaps not been offered a full opportunity to be heard
on the issues addressed herein -- an opportunity that this court must now in fairness afford them,
particularly given the deferential standard of appellate review applied to fee awards under Rule 23(h).
Accordingly, the clerk shall enter final judgment on the award of fees and expenses as described herein,
but the court expressly grants lead counsel leave to file a motion and supporting papers pursuant to
FRCP 60(b)(6) for relief from that judgment. Such a motion for relief from judgment shall be filed
within the time allotted by FRAP 4(a)(1)(A) -- that is, if lead counsel wish to challenge this order here
or in the Court of Appeals, they must act within the time allotted by FRAP 4(a)(1)(A); otherwise,
distribution of the settlement fund may commence. Along with any motion for reconsideration, [**39]
lead counsel should advise the court whether an interim distribution of the uncontested portion of the
settlement fund is warranted.
V
In sum, the court GRANTS lead plaintiff’s motion for an award of attorneys’ fees and costs (Doc #
142). Out of the common fund, the court awards lead counsel expenses of $ 59,434.57 and fees of $
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                        366 F. Supp. 2d 912, *926; 2005 U.S. Dist. LEXIS 7244, **39

1,870,000 cash plus 770,000 shares of HPL stock. These amounts shall bear interest at the same rate
and from the same date as the settlement funds.

IT IS SO ORDERED.

April 22, 2005

VAUGHN R WALKER

United States District Chief Judge

APPENDIX: SAMPLE ORDER

ORDER

Pursuant to FRCP 23(g)(1)(C)(iii) and 23(h)(3), the court ORDERS putative class counsel to submit,
under seal, not later than ___________ counsel’s good faith quantitative assessments of:

   their probability of prevailing on plaintiff’s claims, including their likelihood of achieving
   various levels of recovery;
   the hours of attorney and legal support staff time they reasonably anticipate spending to reach
   certain stages in the litigation and to achieve various levels of recovery; and
   the reimbursable costs they [**40] expect to incur to reach certain stages in the litigation and
   to achieve various levels of recovery;

stating with particularity the reasons for these assessments. See In re HPL Technologies Securities
Litigation, 366 F. Supp. 2d 912 (N.D. Cal. 2005).

Counsel shall contact the court room deputy for direction in making this submission, which shall be
made in paper form, ex parte and under seal. The clerk is directed not to unseal this submission or
permit its inspection by anyone except upon notice to the parties and further order of the court.

IT IS SO ORDERED.

VAUGHN R WALKER

United States District Chief Judge
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                   Exhibit
                     F
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                                 ID #:36002
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                                 ID #:36003




                   Exhibit
                     G
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                                 ID #:36004
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                                 ID #:36005




                   Exhibit
                     H
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                                       Laffey Adjustment to Fenwick & Winston Rates


                                                                                                DC-LA
                                                                          Total     2014-2015 Adjusted
     Name               Position        Firm     Exp.   Original Rates    Hours     Laffey Rate  Rate     Laffey Totals
                                                         2011 - $825;
                                                         2012 - $865;
                                                         2013 - $890;
 Andrew Bridges          Partner       Fenwick    29     2014 - $930     1,292.20     $520     $532.48    $688,070.66
                                                         2013 - $715;
   Ilana Rubel           Partner       Fenwick    17     2014 - $750      318.1       $460     $471.04    $149,837.82
  Jennifer Kelly         Partner       Fenwick    17     2013 - $705      30.5        $460     $471.04     $14,366.72
  Brian Buckley          Partner       Fenwick    18     2014 - $750      22.5        $460     $471.04     $10,598.40
                                                         2013 - $660;
Joseph Belichick        Associate      Fenwick    11     2014 - $690     1007.2       $460     $471.04    $474,431.49
 Todd Gregorian         Associate      Fenwick    10     2014 - $670     774.2        $370     $378.88    $293,328.90
                                                         2013 - $660;
   Liwen Mah            Associate      Fenwick    9      2014 - $690      446.8       $370     $378.88    $169,283.58
Jennifer Johnson        Associate      Fenwick    7      2014 - $640      284.6       $300     $307.20     $87,429.12
                                                         2011 - $375;
                                                         2013 - $535;
   Kathleen Lu          Associate      Fenwick    5      2014 - $560     2026.8       $300     $307.20    $639,129.60
                                                         2011 - $350;
  Shane Witnov         Associate       Fenwick    4      2012 - $410       18         $300     $307.20     $5,529.60
 Annasara Purcell      Associate       Fenwick    3      2014 - $505      445.2       $255     $261.12    $116,250.62
Armen Nercessian       Associate       Fenwick    2      2014 - $450      953.8       $255     $261.12    $249,056.26
Shannon Kumagai        Associate       Fenwick    1      2014 - $370      38.5        $255     $261.12     $10,053.12
     Earl Mah          Associate       Fenwick    1      2014 - $360      15.4        $255     $261.12     $4,021.25
   Adam Lewin          Associate       Fenwick    2      2014 - $450       9.9        $255     $261.12     $2,585.09
   Tyler Newby          Attorney       Fenwick    15     2013 - $670       0.1        $460     $471.04       $47.10
   Brownstone        Special Counsel   Fenwick    28     2014 - $690       0.6        $520     $532.48      $319.49
  James Corpuz         Staff Atty      Fenwick    6      2014 - $200      220.9       $150*    $153.60     $33,930.24
Kristy Shimosaka       Staff Atty      Fenwick    8      2014 - $100      30.3        $150*    $153.60     $4,654.08
    Chris Fong        Contract Atty    Fenwick    4      2014 - $100      116.1       $150*    $153.60     $17,832.96
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                         Summer
    Chang, E.            Associate       Fenwick             $370         2        $150*     $153.60     $307.20
                         Summer
  Jessica Benzler        Associate       Fenwick            $370          2.6      $150*     $153.60     $399.36
                                                         2013 - $285;
   Carol McCoy          Paralegal        Fenwick   16    2014 - $295    830.9      $150      $153.60    $127,626.24
  Robert Winant         Paralegal        Fenwick   23    2014 - $345    225.9      $150      $153.60     $34,698.24
  Sarah Victoria        Paralegal        Fenwick   5     2014 - $240    380.4      $150      $153.60     $58,429.44
    Lisa Magee          Paralegal        Fenwick   15    2013 - $275    21.9       $150      $153.60     $3,363.84
   James Phan           Paralegal        Fenwick         2013 - $330     0.5       $150      $153.60       $76.80
   Sarah Alonto         Paralegal        Fenwick         2014 - $240    22.3       $150      $153.60     $3,425.28
 Amanda Hudson          Paralegal        Fenwick         2014 - $240     14        $150      $153.60     $2,150.40
 Susanne Morales        Paralegal        Fenwick         2014 - $290     1.7       $150      $153.60      $261.12
                        Research
Chrystelle Browman       Support         Fenwick          2014 - $220     15       $150*     $153.60     $2,304.00
                        Research
    Lynn Brazil          Support         Fenwick          2014 - $220     1        $150*     $153.60     $153.60
                        Director of
                         Practice
 Brad Bonnington      Support Group      Fenwick          2014 - $290    28.6      $150*     $153.60     $4,392.96
                        Assistant to
    David Tran          Bonnington       Fenwick          2014 - $245   107.5      $150*     $153.60    $16,512.00
                      Electronic Info.
    Peter Kung             Mgmt          Fenwick          2014 - $255     1.5      $150*     $153.60     $230.40
                      Electronic Info.
     Jana Lay              Mgmt          Fenwick          2014 - $180     1.5      $150*     $153.60     $230.40
                      Electronic Info.
 Gerald Delbarrio          Mgmt          Fenwick          2014 - $170     0.3      $150*     $153.60      $46.08
 Phillip Giammona     Case Assistant     Fenwick          2013 - $125     3        $150*     $153.60     $460.80

                                                         2011 - $610;
Jennifer Golinveaux       Partner        Winston   12    2012 - $640    300.5      $460      $471.04    $141,547.52
                                                         2011 - $470;
  Kevin Joon Oh          Associate       Winston    8    2012 - $525    584.2      $370      $378.88    $221,341.70
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                                                        2011 - $375;
  Thomas Kearney         Associate   Winston      5     2012 - $425      435.1   $300      $307.20     $133,662.72
  Matthew Scherb         Attorney    Winston      6     2011 - $525       6.6    $300      $307.20      $2,027.52
   Donaldson, J.         Attorney    Winston            2011 - $435       0.5    $300      $307.20       $153.60
   Craig Crockett        Attorney    Winston      2     2011 - $375       3.6    $300      $307.20      $1,105.92
     Cohen, S.           Attorney    Winston            2011 - $400       2.5    $300      $307.20       $768.00
   Melodie Butler        Paralegal   Winston            2011 - $285      60.9    $150      $153.60      $9,354.24
     Rogers, J.          Unknown     Winston            2011 - $305       1.2    $150*     $153.60       $184.32
   Rosenthal, D.         Unknown     Winston            2011 - $215       6.8    $150*     $153.60      $1,044.48
      Pace, C.           Unknown     Winston            2011 - $200       0.2    $150*     $153.60       $30.72
     Lundin, C.          Unknown     Winston            2011 - $195       2.9    $150*     $153.60       $445.44
     Butler, A.          Unknown     Winston            2011 - $190       9.6    $150*     $153.60      $1,474.56
      Ruth, L.           Unknown     Winston            2011 - $180       5.1    $150*     $153.60       $783.36
                                                                                            Total     $3,739,748.35

            Total Attorney Hours: 9,389.30
       Total Non-Attorney Hours: 1,742.70
                    Time Stricken    99.70
                      Total Hours: 11,032.30

* Indicates the application of the Laffey rate for Paralegals & Law Clerks.
